Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 1 of 60 PageID #:954




                             EXHIBIT 14
    Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 2 of 60 PageID #:955

                                                                                                                 1




                                                                              Department of Emergency Medicine


September 6, 2022


                                REPORT of Stephen W. Hargarten, MD, MPH

 Pursuant to 28 U.S.C. § 1746 and Fed. R. Civ. P. 26(a)(2), Stephen W. Hargarten, M.D, MPH., provides the
 following disclosure of the opinions he intends to express at the trial in this case:

  1. My name is Stephen W. Hargarten, M.D., M.P.H. I am an emergency medicine specialist, having
     practiced emergency medicine for over 35 years and was board certified across four decades. My
     curriculum vitae, which is attached, documents my educational and research experience in detail.

  2. I received my Medical Degree from the Medical College of Wisconsin, (1975), completed my internship
     at Gorgas Hospital, (1976), and completed a Masters in Public Health from the Bloomberg School of
     Public Health, The Johns Hopkins University, (1984).

  3. I hold my opinions to a reasonable degree of medical and science certainty. My opinions are based on
     my education, training, research, and clinical experience, as well as my knowledge of relevant medical
     literature and the application of scientific principles to wounding ballistics. Also relevant to the
     formation of my opinions is my knowledge of accepted standards of medical practice as they apply to
     emergency medicine.

                                             Prior Testimony
  4. I have reviewed medical‐legal cases for attorneys representing healthcare providers and patients. I
     have no cases to document for the past four years.


                                             Compensation
  5. My services for the case are being compensated at the following rates: Examination of
     case and preparation of testimony $250/hour.

  6. I understand the parties may take depositions, and I intend to review those depositions as they
     become available, as well as to review expert reports and depositions as such are made available to
     me. Should any new information be made available, I will update my report to address such
     information.



                                           8701 Watertown Plank Road
                                        Milwaukee, Wisconsin 53226-0509
                                                 www.mcw.edu


                                                                          VIRAMONTES 003542
                                                                             CCSAO 09/15/2022
  Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 3 of 60 PageID #:956

                                                                                                              2


                                  Materials and Information Considered

7. I was asked by Cook County State’s Attorney’s Office to review the complaint from Plaintiff
   Cutberto Viramontes. I also reviewed the Ordinance No 13‐O‐32, 7‐17‐2013, The Blair Holt
   Assault Weapons Ban.

8. The general description of my work with collaborators over the past two years is as follows: we desired
   to quantify wound ballistics modeling with state‐of ‐the‐art technology and sensors. We partnered
   with the Wisconsin Crime Lab, Division of Firearms and Toolmark Examiners, in Milwaukee, Wisconsin,
   where we identified and utilized the small arms from their laboratory. We used one handgun and
   three rifles and standard ammunition to be fired. (40 caliber, 45 caliber, 5.56 NATO, and 30‐06 round).
   Science leaders, technicians and doctoral students from the Bio‐Engineering Department of the
   Medical College of Wisconsin/Marquette University set up the video technology sensors, and gelatin
   while the Wisconsin Crime lab personnel set up the stand for the small arms. The distance from the
   firearm to the gelatin was approximately 10 feet.

    We tested several bullets to record and quantify the scope and nature of the permanent and temporary
    cavities and to quantify the energy release of the bullets with two energy sensors affixed to the gelatin.
    The system was set up so that when the bullet was released from the pistol/rifle, the passage of the
    bullet thru the gelatin was recorded and the energy release was quantified by high‐speed video camera
    and the two energy sensors.

    Two pressure transducers with range 0 – 50 megapascals (Entran Sensors & Electronics, Fairfield, NJ)
    were inserted about ten millimeters deep into the gelatin, perpendicular to the bullet path and
    recorded at 300 kHz. Data capture was triggered after the bullet was fired using a sound triggering
    device (Woods Electronics, Poway, CA). Pressure was filtered at 2.5 kHz using a low‐pass Butterworth
    filter (MATLAB, The MathWorks, Inc., Natick, Massachusetts) and analyzed over time to evaluate peaks
    for maximum pressure.

9. We sought to gain a greater understanding of how the bullet “behaves” in simulated human tissue.
   We wanted to quantify the scope and nature of the energy release, as summarized by this equation:
   Kinetic Energy equals ½ mass times velocity squared.

10. The permanent cavity is formed by the mass of the bullet travelling through the gelatin (standardized
    muscle tissue simulator), crushing and tearing through it, similar to what occurs in human organs and
    tissue. The temporary cavity is formed by the dispersion of the kinetic energy radially from the
    permanent cavity path, resulting in the stretching (and tearing), of the gelatin similar to what occurs
    with human tissue and organs, much like water is displaced when a diver enters the water.

11. We have conducted biomechanical testing of the bullets released from AR15 style rifles (5.56 NATO
    bullets), a hunting rifle (30‐06 bullet), a Thompson Machine gun rifle (.45 caliber ACP bullet), and a
    pistol (40 caliber bullet).

12. We found that the energy release with the 5.56 NATO bullet was over three times greater than
    the .45 caliber bullet from the Thompson Machine gun (1138.13 joules vs 301.81 joules). The
    temporary cavity of the 5.56 NATO bullet was over three times the size of the .45 caliber bullet’s
    temporary cavity from the Thompson Machine gun (7.2 inches vs 2.1 inches).
                                           8701 Watertown Plank Road
                                        Milwaukee, Wisconsin 53226-0509
                                                 www.mcw.edu


                                                                           VIRAMONTES 003543
                                                                              CCSAO 09/15/2022
     Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 4 of 60 PageID #:957

                                                                                                                3


  13. It is my opinion that the AR 15 style bullet’s (bullets) kinetic energy release with its attending
      greater permanent and temporary cavities is more destructive than the Thompson Machine gun
      rifle bullet. The significant differences in energy transfer and temporary cavities between the two
      bullets have direct implications for injury and death.

  14. Bullets from AR 15 style rifles will have greater injury likelihood to fracture bones due to their
      higher energy release. Organs such as the liver and spleen, which are relatively inelastic organs
      due to their cellular structures (versus lung tissue which is very elastic due to their need to inflate
      and constrict) are more severely lacerated due to the greater temporary cavity formation by these
      bullets that results in significant stretching and tearing, resulting in veins and arteries torn,
      resulting in immediate bleeding.

  15. The energy release from an AR 15 style bullet into a human such as a 7‐ or 10‐year‐old has
      significant implications, given their smaller torso and lower blood reserve when compared to
      teenagers or adults who have relatively higher blood volumes. It is my opinion that when a bullet
      from an AR‐15 type weapon penetrates the torso of a 7 or a 10‐year‐old, that it is have an extremely
      high mortality rates for those patients. Those patients who do survive that have been struck by
      these bullets face surgical challenges, recurring surgical procedures, and long‐term recovery and
      disability.

I declare under penalty of perjury that the foregoing is true and correct.

Sincerely,


Stephen W. Hargarten, MD, MPH
Professor, Department of Emergency Medicine
Founding Dean, Office of Global Health
Affiliate Faculty, Comprehensive Injury Center
Medical College of Wisconsin




                                             8701 Watertown Plank Road
                                          Milwaukee, Wisconsin 53226-0509
                                                   www.mcw.edu


                                                                              VIRAMONTES 003544
                                                                                 CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 5 of 60 PageID #:958
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 6 of 60 PageID #:959
                                                                                                      -2-
                                                                        Stephen W. Hargarten, MD, MPH
          2001-2020                Director, Comprehensive Injury Center at the Medical College of Wisconsin

          1998-present             Professor, Department of Emergency Medicine, Medical College of Wisconsin

          1998-2018                Chairman, Department of Emergency Medicine, Medical College of Wisconsin

          1998-2001                Director, Wisconsin Injury Research Center, Department of Emergency
                                   Medicine, Medical College of Wisconsin

          1997-2002                Director, Firearm Injury Center, Department of Emergency Medicine, Medical
                                   College of Wisconsin

          1994-1997                Associate Professor, Interim Chairman, Department of Emergency Medicine,
                                   Medical College of Wisconsin

          1994-1996                Instructional Academic Staff Preceptor, Physician Assistant Program,
                                   Department of Family Medicine & Practice, University of Wisconsin Medical
                                   School - Madison, WI

          1994-2004                Health Policy Institute, Medical College of Wisconsin

          1989-1994                Assistant Professor of Emergency Medicine, Medical College of
                                   Wisconsin

          1985-1988                Assistant Clinical Professor, Department of Trauma and Emergency Medicine,
                                   Medical College of Wisconsin

 Hospital and Administrative Appointments:

          1995-2018                Attending Staff, Froedtert Hospital

          1992-1997                Associate Attending Staff, Children’s Hospital of Wisconsin

 Hospital Appointments: (past)

          1989-1995                Associate Attending Staff, John L. Doyne Hospital, Milwaukee, WI

          1985-1988                Staff Physician, Emergency Department, St. Luke’s Hospital

          1984-1985                Staff Physician, Emergency Department, St. Joseph’s Hospital

          1977-1983                Staff Physician, Emergency Department, St. Mary’s Hospital

          1976-1977                Staff Physician, Emergency Department, St. Joseph’s Hospital

 Other Appointments:

           2014-2020               President and CEO, Milwaukee Global Health Consortium, Milwaukee, WI

 Specialty Certification:

          2000                     Board Re-certified, American Board of Emergency Medicine

          1991                     Board Re-certified, American Board of Emergency Medicine

                                                                            VIRAMONTES 003546
                                                                               CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 7 of 60 PageID #:960
                                                                                                -3-
                                                                     Stephen W. Hargarten, MD, MPH
         1987-2010                 Examiner, American Board of Emergency Medicine

         1987-2003                 Instructor, Advanced Trauma Life Support

         1983-2005                 Fellow, American College of Emergency Physicians

         1982                      Board Certified, American Board of Emergency Medicine

 Licensure:
         National Board of Medical Examiners - July 1976 - #154341
         State of Wisconsin - July 1976 - #20218

 Awards/Honors
         2019                      Distinguished Service Award, Medical College of Wisconsin

         2018                      Appointment to the Community Preventive Services Task Force (CPSTF)
                                   of the U.S. Department of Health and Human Services

         2017                      International Institute of Wisconsin’s Dorothy Von Briesen World Citizen
                                   Award in recognition of dedication to the promotion of international
                                   cooperation and understanding between diverse cultural communities

         2016                      The Leonard Tow 2016 Humanism in Medicine Award in recognition of
                                   exemplary compassion, competence and respect in the delivery of care
                                   (presented by The Arnold P. Gold Foundation)

         2015                      Distinguished Achievement Award, Milwaukee Academy of Medicine

         2012                      Outstanding Pathways Advisor for the 2012 Academic Year
                                   Medical College of Wisconsin

         2012                      Outstanding Medical Student Teacher for the 2011-2012 Academic Year
                                   Medical College of Wisconsin

         2011                      Election to the National Academy of Medicine, (Formally the Institute of Medicine) of
                                   The National Academy of Sciences

         2011                      Selected to be a Johns Hopkins Scholar

         2008                      Outstanding Medical Student Teacher for the 2007-2008 Academic Year
                                   Medical College of Wisconsin

         2000                      Prevention Achievement Award – presented by the Brain Injury
                                   Association of Wisconsin

         2000                      President’s Award, Milwaukee Academy of Medicine

         1996                      Contributions to the 1996 Healthy People 2000 Progress Review, and in
                                   recognition of leadership in the area of Violence Prevention, on behalf of the
                                   National Center for Injury Prevention and Control, Centers for Disease Control
                                   and Prevention, Washington, DC, November

         1995                      Public Citizen of the Year, National Association of Social Workers - Wisconsin
                                   Chapter

                                                                            VIRAMONTES 003547
                                                                               CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 8 of 60 PageID #:961
                                                                                                     -4-
                                                                          Stephen W. Hargarten, MD, MPH
         1994                       Physician of the Year State Medical Society – Wisconsin

         1990                       Rookie of the Year Award (presented by the Emergency Medicine Residents, Medical
                                    College of Wisconsin-MCWAH)


 Memberships in Professional and Honorary Societies:

         Society for Research Excellence
         Community Preventive Services Task Force (US Dept of Health & Human Services)
         The National Academy of Medicine (fka Institute of Medicine)
         Johns Hopkins Society of Scholars
         Society for Academic Emergency Medicine
         American Public Health Association
         Advocates for Highway and Auto Safety
         Wisconsin Public Health Association
         International Travel Medicine Society
         Society for Advancement of Violence and Injury Research

 Consultant:

         Florida Department of Health
         Colorado Department of Health

 Journal Reviewer:

         Academic Emergency Medicine
         Annals of Emergency Medicine
         Accident Analysis and Prevention
         American Journal of Emergency Medicine
         Journal of Global Health
         Journal of the American Medical Association
         Journal of Injury Prevention
         Chinese Journal of Emergency Medicine, Editorial Board


 Peer Grant Reviewer

          NCIPC - Elimination of Health Disparities through Translation Research (R18), 2008


 National Advisory Committees/Boards:

         Chair, Network to Prevent Gun Violence in the Americas, 2020-present

         Member, Global Violence Prevention Forum of the National Academies of Sciences, Engineering and
         Medicine, 2019-present

         Member, Community Preventive Services Task Force of the U.S. Department of Health and Human
         Services, 2018-present

         Member, Executive Committee, Transportation Research Board of the National Academies of
         Sciences, Engineering and Medicine, 2018-present

         Member, Executive Committee, Transportation Research Board of the National Academies, 2018-
                                                                           VIRAMONTES 003548
                                                                              CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 9 of 60 PageID #:962
                                                                                                    -5-
                                                                         Stephen W. Hargarten, MD, MPH
         present

         Member, Scientific Committee, Consortium of Universities for Global Health, 2013

         Special Government Employee, Board of Scientific Counselors, National Center for Injury
         Prevention and Control, 2013-2017

         Member, Institute of Medicine, Global Health Board, 2012-2018

         Member, Scientific Advisory Committee, University of Michigan Injury Center, 2011-present

         Board Member, Community Advocates, Urban Strategies, 2010-present

         Board Member, Great Lakes Transportation Enterprise Institute, 2010-2013

         Founding President, Society for Advancement of Violence and Injury Research, 2005-2007

         President, Association of Academic Chairs of Emergency Medicine, 2004-2005

         President, National Association of Injury Control Research Centers, 2004-2005

         Member, Advisory Committee, National Center of Injury Prevention and Control, Acute Care
         Research Committee, 2004-2005

         Board Member, St. Charles Youth and Family Services, 2001-present

         Participant, Injury Research Grant Review Committee, Centers for Disease Control and Prevention,
         National Center for Injury Prevention and Control, June 7-8, 1998

         Member, Senator Russ Feingold Health Care East Advisory Committee, 1999–2010

         Co-Chair, Advocates for Highway & Auto Safety, 1998 – 2002

         Public Health Task Force, Society for Academic Emergency Medicine 1998 - 2000

         Member, Education Advisory Committee, Association for the Advancement of Automotive Medicine, 1996 –
         1997

         Board Member, Advocates for Highway & Auto Safety, 1994– present

         Member, Public Health and Injury Prevention Committee - American College of Emergency Physicians,
         1991-1995

         Member, Program Committee, Society for Academic Emergency Medicine, 1993 - 1995

         Board Member, Association for Advancement of Automotive Medicine, 1992 - 1995

         Member, Public Health Committee - Society for Academic Emergency Medicine, 1990 - 1993

         Member, Trauma Subcommittee American College of Emergency Physicians, 1990 – 1991


 State/Local Advisory Committee/Boards:

         Faculty Member, Board of Trustees, Medical College of Wisconsin, 2014-2016
                                                                           VIRAMONTES 003549
                                                                              CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 10 of 60 PageID #:963
                                                                                                       -6-
                                                                            Stephen W. Hargarten, MD, MPH

         Member, Committee on Inmate/Youth Death, Department of Corrections, 2005-2007

         Member, Public Health Council, Department of Health and Family Services, 2004-2006

         Task Force Member, Governors Task Force on Terrorism, 2001-2003

         Chair, State Trauma Advisory Committee, 1999-2003

         Chair, State Medical Society Council on Health of the Public, 1999-2000

         Eastern Regional Health Care Advisory Committee of Senator Feingold, 1998-2000

         Chair, Policies and Practice Work Group, Fighting Back, 1998

         Board Member, Fighting Back, 1997-2000

         Chair, State Medical Society Injury Control Commission, 1996 - 1999

         Chair, Public Health and Education Committee, Milwaukee Academy of Medicine, 1993 – 1999

         Tom Dooley Heritage - Board Member (Private, Voluntary Organization), 1981 - 1995

         Chairman, Safe Transportation Commission Wisconsin State Medical Society, 1990 - 1994

         Board Member, Wisconsin Division American Trauma Society, 1990 - 1993

         President, Wisconsin Public Health Association, 1992 - 1993

         Co-Chairman, Wisconsin Safety Belt Coalition, Madison, Wisconsin, 1986 - 1991

         Milwaukee County Medical Society Public Health Committee, 1989 - 1991

         Commissioner, Milwaukee Safety Commission, 1987 - 1990

         Medical Director, St. Luke's International Travel Clinic, 1985 - 1988

         Board Member/President, Wisconsin Indochina Refugee Relief (WICRR) – Wisconsin, 1980 - 1982

         Wisconsin Indochina Refugee Relief (WICRR) (Private, Voluntary non-profit organization), Volunteer Physicians -
         Tom Dooley Memorial Hospital Thailand, 1980

         Co-Founder, Board Member West of the River Community Center, Milwaukee, Wisconsin, 1977 – 1979

 Research Grants, Contracts, and Awards:

     1. “Remembering the Lost: How Investigation of Military Suicides Can Improve Prevention Resources”
        AWARD FOR FISCAL YEARS 2020-22
        $316,576
        PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
        FUNDING AGENCY: Advancing a Healthier Wisconsin Endowment

     2. “Using Hospital Records of Patients Presenting to Froedtert Hospital to Predict Risk of Opioid Use Disorder
        (OUD), Fatal and Non-fatal Opioid Overdose, and ED Readmission”
        AWARD FOR FISCAL YEARS 2020-2021
                                                                                 VIRAMONTES 003550
                                                                                    CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 11 of 60 PageID #:964
                                                                                                 -7-
                                                                      Stephen W. Hargarten, MD, MPH
         $50,000
         PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Clinical and Translational Science Institute through Advancing a Healthier Wisconsin
         Endowment

     3. “Project Zero”
        AWARD FOR FISCAL YEARS 2021-2023
        $316,760
        PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
        FUNDING AGENCY: Advancing a Healthier Wisconsin Endowment

     4. “Project Aware”
        AWARD FOR FISCAL YEARS 2019-2024
        $300,000
        PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
        FUNDING AGENCY: (Sub-contract) State of Wisconsin Department of Health Services

     5. “WVDRS and SUDORS Contract”
        AWARD FOR FISCAL YEARS 2019-2020
        $170,440
        PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
        FUNDING AGENCY: (Sub-contract) State of Wisconsin Department of Health Services

     6. FY20 DOC Contract
        AWARD FOR FISCAL YEARS 2019-2020
        $99,874
        PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
        FUNDING AGENCY: Wisconsin Department of Corrections

     7. “Destination Zero: Zero Suicide in Fond du Lac County”
        AWARD FOR FISCAL YEARS 2018-2020
        $419,691
        PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
        FUNDING AGENCY: Healthier Wisconsin Partnership Program

     8. “MCW Blue Center Research Award”
        INITIAL AWARD FOR FISCAL YEARS: 2017-2020
        $600,000
        PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
        FUNDING AGENCY: Medical College of Wisconsin, Office of Research

     9. “Scudder Travel Scholarship”
        AWARD FOR FISCAL YEARS: 2017-2021
        $15,000
        PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
        FUNDING AGENCY: Dr. James H. Taylor and Dr. Susan P. Taylor

     10. “Dr. Elaine Kohler Summer Academy in Global Health Research and Electives”
         AWARD FOR FISCAL YEARS: 2017-2021
         TOTAL AWARD: $250,000
         PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: John Michael Kohler Family Foundation

     11. “The Cardiff Model: Strengthening Community Capacity to Reduce Violence:
         AWARD FOR FISCAL YEARS 2016-2018
                                                                        VIRAMONTES 003551
                                                                           CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 12 of 60 PageID #:965
                                                                                                      -8-
                                                                           Stephen W. Hargarten, MD, MPH
         $499,693
         PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: US Department of Justice

     12. “Developing a Community-Based Approach to Reduce Drug Overdoses in Milwaukee County”
         AWARD FOR FISCAL YEAR 2016
         TOTAL AWARD $25,000
         PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Milwaukee County

     13. “Addressing Racial Disparities in the Ascertainment and Identification of Depression,
         Suicidal Ideation, and Death by Suicide”
         AWARD FOR FISCAL YEARS 2016-2017
         TOTAL AWARD $37,347
         PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Charles E. Kubly Foundation

     14. “Creating a Jackson County that Supports Mental Health”
         AWARD FOR FISCAL YEARS 2015-2017
         TOTAL AWARD: $374,504
         PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Healthier Wisconsin Partnership Program

     15. “Wisconsin Violent Death Reporting System” (WVDRS)
         AWARD FOR FISCAL YEAR 2015
         AWARD: $69,773
         PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: (Sub-Contract) State of Wisconsin, Department of Health Services

     16. “Integrating Emergency Data with Law Enforcement, Emergency Medical Service and
          Community Data to Reduce Violence”
         AWARD FOR FISCAL YEAR 2015
         PRINCIPAL INVESTIGATORS: Stephen Hargarten, MD, MPH and Jennifer Hernandez-Meier, MSW
         FUNDING AGENCY: National Institute of Justice

     17. “Criminal Background Characteristics of Homicide Perpetrators and Victim’s and
          Suicide Decedents: A Model State Analysis”
         AWARD FOR FISCAL YEARS 2014-2016
         PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: New Venture Fund for a Safer Future

     18. “Training Administration Support”
         AWARD FOR FISCAL YEARS 2012-present
         TOTAL AWARD: $6,200
         PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Varies

     19. “M4 University of the Philippines College of Medicine Global Health Elective”
         AWARD FOR FISCAL YEARS: 2012-2013
         TOTAL AWARD: $1,000
         PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: David E. Engelhardt, MD

     20. “Changing the Culture of Risky Drinking Behavior: Policy Change”
         AWARD FOR FISCAL YEARS: 2012-2017
                                                                             VIRAMONTES 003552
                                                                                CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 13 of 60 PageID #:966
                                                                                                    -9-
                                                                         Stephen W. Hargarten, MD, MPH
         TOTAL AWARD: $748,267
         PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Healthier Wisconsin Partnership Program

     21. “Child Maltreatment and Partner Violence: Bridging the Medical/Social/Science Gap”
         AWARD FOR FISCAL YEAR 2011-2012
         TOTAL AWARD $7,142
         FUNDING AGENCY: NICHHD/Sub-contract from Washington University-St. Louis

     22. “M4 Global Health Elective Travel Scholarship”
         AWARD FOR FISCAL YEARS: 2011-2017
         TOTAL AWARD: $70,000
         PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: St. Joseph’s Hospital Professional Emergency Services, Inc. (PES) Fund Award

     23. “M4 Global Health Elective Travel Scholarship”
         AWARD FOR FISCAL YEARS: 2011-2017
         TOTAL AWARD: $70,000
         PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Ewens WIcare Fund

     24. “Dr. Elaine Kohler Summer Academy in Global Health Research and Electives”
         AWARD FOR FISCAL YEARS: 2011-2016
         TOTAL AWARD: $255,000
         PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: John M. Kohler Foundation

     25. “Violence Prevention Initiative Research and Evaluation Team”
         AWARD FOR FISCAL YEARS: 2010-2015
         TOTAL AWARD: $1,241,473
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Healthier Wisconsin Partnership Program

     26. “Strengthening Emergency Care in Belize”
         AWARD FOR FISCAL YEARS: 2010-2012
         TOTAL AWARD: $21,360
         PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Wagner Foundation

     27. Changing the Culture of Risky Drinking Behavior”
         AWARD FOR FISCAL YEARS: 2009-2012
         TOTAL AWARD: $300,000
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Healthier Wisconsin Partnership Program

     28. “Elaine Kohler Nicaragua Award”
         AWARD FOR FISCAL YEARS: 2008-2016
         TOTAL AWARD: $5,000
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Julilly Kohler WI Care

     29. “Kenosha County Suicide Prevention Initiative”
         AWARD FOR FISCAL YEARS: 2008-2011
         TOTAL AWARD: $450,000
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
                                                                           VIRAMONTES 003553
                                                                              CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 14 of 60 PageID #:967
                                                                                                   - 10 -
                                                                         Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Healthier Wisconsin Partnership Program

     30. “Train the Trainer Alcohol Screening and Intervention”
         AWARD FOR PERIOD: June-September 2008
         TOTAL AWARD $20,000
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Wisconsin Department of Transportation

     31. “Comprehensive Injury Center at the Medical College of Wisconsin”
         AWARD FOR FISCAL YEARS: 2007-2012
         TOTAL AWARD: $4,424,025
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Centers for Disease Control and Prevention

     32. “Public Health Injury Surveillance and Program Development”
         AWARD FOR FISCAL YEAR: 2007-2008
         TOTAL AWARD: $106,034
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Injury Prevention Program, Wisconsin Dept of Health and Family Services

     33. “Changing the Culture of Risky Drinking Behavior”
         AWARD FOR FISCAL YEARS: 2007-2008
         TOTAL AWARD: $49,944
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Healthier Wisconsin Partnership Program

     34. “Medical Student Training in Aging and Injury Research”
         AWARD FPR FOSCA: UEARS: 2007-2012
         TOTAL AWARD: $391,068
         CO-PROGRAM DIRECTOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: National Institutes of Health/National Institute on Aging

     35. “Public Health Injury Surveillance and Program Development”
         AWARD FOR FISCAL YEAR: 2006-2007
         TOTAL AWARD: $68,870
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Injury Prevention Program, Wisconsin Dept of Health and Family Services

     36. “Strengthening Public Health Policymaking for a Healthier Milwaukee”
         AWARD FOR FISCAL YEARS: 2006-2008
         TOTAL AWARD: $49,816
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Healthier Wisconsin Partnership Program

     37. “Youth Suicide Prevention and Early Intervention”
         AWARD FOR FISCAL YEARS: 2006-2009
         TOTAL AWARD: $100,000
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Milwaukee Mental Health Association via Substance Abuse and Mental Health Services
         Administration

     38. “Public Health Injury Surveillance and Program Development”
         AWARD FOR FISCAL YEAR: 2005-2006
         TOTAL AWARD: $93,228
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
                                                                             VIRAMONTES 003554
                                                                                CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 15 of 60 PageID #:968
                                                                                               - 11 -
                                                                   Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Injury Prevention Program, Wisconsin Dept of Health and Family Services

     39. “Toward Regional Priorities for Injury Prevention”
         AWARD FOR FISCAL YEAR: 2003
         TOTAL AWARD: $22,727
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Wisconsin Department of Health and Family Services

     40. “Deaths to US Travelers Abroad”
         AWARD FOR FISCAL YEAR: 2002
         TOTAL AWARD: $50,000
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Center for Disease Control and Prevention

     41. “Annie E. Casey Foundation”
         AWARD FOR FISCAL YEAR: 2002
         TOTAL AWARD: $68,181
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Annie E. Casey Foundation

     42. “Comprehensive Injury Center at the Medical College of Wisconsin”
         AWARD FOR FISCAL YEARS: 2001-2007
         TOTAL AWARD: $5,180,275
         PRIMARY INVESTIGATOR: Stephen W. Hargarten MD, MPH
         FUNDING AGENCY: Centers for Disease Control and Prevention

     43. “Grants for Injury Control Research Centers – Small Project 4”
         AWARD FOR FISCAL YEARS: 2001-2004
         TOTAL AWARD: $ 66,672
         CO-INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Centers for Disease Control and Prevention

     44. “Grants for Injury Control Research Centers – Large Project 4”
         AWARD FOR FISCAL YEARS: 2001-2006
         TOTAL AWARD: $ 204,000
         PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Centers for Disease Control and Prevention

     45. “Grants for Injury Control Research Centers – Large Project 3”
         AWARD FOR FISCAL YEARS: 2001-2006
         TOTAL AWARD: $100,000
         CO-INVESTIGATOR (IN KIND): Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Centers for Disease Control and Prevention

     46. “Grants for Injury Control Research Centers – Core A”
         AWARD FOR FISCAL YEARS: 2001-2006
         TOTAL AWARD: $ 137,380
         PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Centers for Disease Control and Prevention

     47. “2nd Annual Emerging Injury Conference: International Travel Related Injury”
         AWARD FOR FISCAL YEARS: 2001-2002
         TOTAL AWARD: $ 50,000
         PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Centers for Disease Control and Prevention
                                                                             VIRAMONTES 003555
                                                                                CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 16 of 60 PageID #:969
                                                                                                     - 12 -
                                                                           Stephen W. Hargarten, MD, MPH

     48. “NVDRS – Intentional Injuries and Assaults”
         AWARD FOR FISCAL YEARS: 2001-2002
         TOTAL AWARD: $ 75,774
         PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Wisconsin Office of Justice Assistance

     49. “Improving Patient Safety: Health Systems Reporting, Analysis, and Safety Improvement Research
         Demonstrations”
         AWARD FOR FISCAL YEARS: 2001-2004
         TOTAL AWARD: $1,418,594
         CO-PI: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Agency for Healthcare Research and Quality

     50. “International Injuries and Assaults”
         AWARD FOR FISCAL YEARS: 2001-2002
         TOTAL AWARD: $ 68,196
         PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: State of Wisconsin

     51. “Building a National Firearm Injury Reporting System”
         AWARDED FOR FISCAL YEARS: 2000 - 2001
         TOTAL AWARD: $50,000
         PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Funder’s Collaborative for Gun Violence Prevention by Harvard School of Public Health
         National Violent Injury Statistics System (NVISS)

     52. “Preventing Firearm Suicides and Unintentional Deaths”
         AWARD FOR FISCAL YEARS: 2000-2001
         TOTAL AWARD: $60,000
         PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Funder’s Collaborative for Gun Violence Prevention by Johns Hopkins Center for Gun Policy
         & Research

     53. “A Comprehensive Model for Firearm Injury Reporting, Analysis and Information” – Joyce 5
         AWARD FOR FISCAL YEARS: 1999-2002
         TOTAL AWARD: $771,924
         PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Joyce Foundation

     54. “Closing the Gap: Applying Injury Control Science to Patient Safety”
         AWARD FOR FISCAL YEARS: 1999-2000
         TOTAL AWARD: $24,316 and $30,000
         PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Centers for Disease Control and Prevention

     55. “In the Wake of a Gunshot”
         AWARD FOR FISCAL YEARS: 1999-2000
         TOTAL AWARD: $10,000
         PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Wisconsin Humanities Council and the National Endowment for the
         Humanities

     56. “Strategic Development of State Firearm Injury Reporting Systems”
         AWARD FOR FISCAL YEARS: 1999-2000
                                                                                VIRAMONTES 003556
                                                                                   CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 17 of 60 PageID #:970
                                                                                                  - 13 -
                                                                        Stephen W. Hargarten, MD, MPH
         TOTAL AWARD: $116,911
         PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Open Society Institute

     57. “Wisconsin Firearm Injury Reporting Systems (FIRS) – Joyce 4
         AWARD FOR FISCAL YEARS: 1998-1999
         TOTAL AWARD: $95,912
         PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Joyce Foundation

     58. “Wisconsin Drug Abuse Emergency Room Registry”
         AWARD FOR FISCAL YEARS: 1998-1999
         TOTAL AWARD: $1500
         PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: State of Wisconsin, Dept. of Health & Family Services

     59. “National Firearm Information Center” – Joyce 3
         AWARD FOR FISCAL YEARS: 1997-2000
         TOTAL AWARD: $391,581
         PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Joyce Foundation

     60. “Firearm Injury Reporting System” – Joyce II
         AWARD FOR FISCAL YEARS: 1996-1998
         TOTAL AWARD: $194,538
         PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: Joyce Foundation

     61. “Brief Strategies for Alcohol-Related Non-traffic Injuries”
         AWARD FOR FISCAL YEAR: 1996
         TOTAL AWARD: $10,904
         PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
         FUNDING AGENCY: University of Wisconsin – Madison

     62. “Firearm Surveillance System - Wisconsin”
         AWARD FOR FISCAL YEAR: 1994-1997
         TOTAL AWARD: $150,000
         CO-DIRECTOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Division of Health, State of Wisconsin

     63. “Firearm Injury Reporting System”
         AWARD FOR FISCAL YEAR: 1994-95
         TOTAL AWARD: $50,000
         PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Faye McBeath Foundation

     64. "Firearm Injury Reporting System" – Joyce II
         AWARD FOR FISCAL YEAR: 1994-95
         TOTAL AWARD: $79,997
         PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Joyce Foundation

     65. "Emergency Room Drug Abuse Data"
         AWARD FOR FISCAL YEARS: 1992 - 2000
         TOTAL AWARD: $5,000/yr.
                                                                          VIRAMONTES 003557
                                                                             CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 18 of 60 PageID #:971
                                                                                                 - 14 -
                                                                       Stephen W. Hargarten, MD, MPH
          PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
          FUNDING AGENCY: State of Wisconsin

     66. "Crash Outcome Data Evaluation (CODES) in Wisconsin"
         AWARD FOR FISCAL YEAR: 1992-1993
         TOTAL AWARD: $15,000
         CO-INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: National Highway Traffic Safety Administration

     67. "Partnerships in Health/EMS Training for Poland"
         AWARD FOR FISCAL YEARS: 1992-1994
         TOTAL AWARD: $2.4 million
         ASSOCIATE DIRECTOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: United States Agency for International Development

     68. “Emergency Medical Services Course for Physicians"
         AWARD FOR FISCAL YEAR: 1992
         TOTAL AWARD: $29,789.00
         PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Wisconsin Department of Transportation

     69. "Motorboat Propeller Injuries in Wisconsin 1987-1989"
         AWARD FOR FISCAL YEAR: 1991
         TOTAL AWARD: $2,000.00
         PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Institute for Injury Reduction

     70. "Electronic Log System for Emergency Department"
         AWARD FOR FISCAL YEAR: 1990
         TOTAL AWARD: $40,356.00
         PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Wisconsin Department of Transportation

     71. "Cost & Data Analysis of Motor Vehicle Trauma in Milwaukee County"
         AWARD FOR FISCAL YEAR: 1990
         TOTAL AWARD: $3,417.00.
         PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Wisconsin Department of Transportation

     72. "Hunting Injuries and Illnesses in Montana 1990"
         AWARD FOR FISCAL YEAR: 1990
         TOTAL AWARD: $2,500.00
         PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Wilderness Medical Society

     73. "Motor Vehicle Crashes - Emergency Physician Costs"
         AWARD FOR FISCAL YEAR: 1990
         TOTAL AWARD: $6,000.00
         PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
         FUNDING AGENCY: Wisconsin Safety Belt Coalition


  Invited Lectures/Testimony:


                                                                         VIRAMONTES 003558
                                                                            CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 19 of 60 PageID #:972
                                                                                                   - 15 -
                                                                       Stephen W. Hargarten, MD, MPH
     1. “Gun Violence as a Biopsychosocial Disease,” Midwest Injury Prevention Alliance Virtual Summit,
        December 9, 2020.

     2. “Global Health from Neighborhoods to Nations”, Milwaukee Academy of Medicine, Virtual Webinar,
        November 17, 2020.

     3. “Impact of COVID-19 on the University’s Global Health Programming,” 7th Annual Midwestern Universities
        for Global Health, Virtual Webinar, September 30.

     4. “Gun Violence in the Americas: Local Solutions to a Hemispheric Challenge,” Consortium of Universities for
        Global Health, Virtual Webinar, July 16, 2020.

     5. “Assault Weapons Ban in the Americas,” Newtown Action Alliance, Virtual Webinar, July 9, 2020.

     6. “Gun Violence in Mexico and Central America,” Consortium of Universities for Global Health, Virtual
        Webinar, April 21, 2020.

     7. “The Milwaukee Global Health Landscape Study,” Milwaukee Global Health Consortium, Virtual Webinar,
        April 13, 2020.

     8. “Gun Violence in the Americas Focus: Mexico,” Consortium of Universities for Global Health, Virtual
        Webinar, March 24, 2020.

     9. “Physician Advocacy,” Medical College of Wisconsin Health Policy and Advocacy Course, Milwaukee, WI,
        March 23, 2020.

     10. “Understanding the Biopsychosocial Aspects of Violence Involving Firearms,” American Hospital Association
         Webinar Series on Gun Violence, Virtual Presentation, February 19, 2020.

     11. “Gun Violence: A Biopsychosocial Disease,” 2020 Comprehensive Injury Center Lecture Series, Medical
         College of Wisconsin, Milwaukee, WI, January 23, 2020.

     12. Assembly Health Committee Public Hearing (Military Civilian Partnership + Cancer Clinical Trials
         Legislation), Madison, WI, January 7, 2020.

     13. “Global Burden of Gun Violence,” University of Wisconsin Population Health Seminar Series, University of
         Wisconsin, Madison, WI, December 2, 2019.

     14. “Gun Violence: A Biopsychosocial Disease,” Department of Medicine Grand Rounds, Medical College of
         Wisconsin, Milwaukee, WI, September 27, 2019.

     15. “Suicide in Wisconsin: Considerations for Prevention,” Wisconsin State Legislature’s Suicide Prevention
         Task Force Testimony, Milwaukee, WI, September 9, 2019.

     16. “Gun Violence: A Biopsychosocial Disease,” Department Conference, Department of Emergency Medicine,
         Medical College of Wisconsin, Milwaukee, WI, August 8, 2019.

     17. “Road Traffic Injury Prevention and Violence Injury Prevention,” International Congress on Emergency
         Medicine Meeting, Seoul, South Korea, June 12, 2019.

     18. “Gun Violence Prevention: Dispelling Myths, Understanding Science, Strengthening Prevention, Programs,
         and Policies,” Community Conversations, La Crosse, WI, April 24, 2019.

     19. “Gun Violence: A Biopsychosocial Disease,” Toward One Wisconsin Inclusivity Conference, Milwaukee, WI,
         April 11, 2019.
                                                                            VIRAMONTES 003559
                                                                               CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 20 of 60 PageID #:973
                                                                                                      - 16 -
                                                                            Stephen W. Hargarten, MD, MPH

     20. “Motor Vehicle Crash Deaths and Injury – Moving to Zero,” Wisconsin Medical Society Physician Education
         Conference, Madison, WI, April 6, 2019.

     21. “Gun Violence: A Biopsychosocial Disease,” Wisconsin Medical Society Physician Education Conference,
         Madison, WI, April 6, 2019.

     22. “Injury as a Biopsychosocial Disease,” Wisconsin Violence and Injury Prevention Program Summit,
         Madison, WI, April 4, 2019.

     23. “Gun Violence: A Biopsychosocial Disease,” Society for the Advancement of Violence and Injury Research
         Conference, Cincinnati, OH, April 2, 2019.

     24. “Gun Violence: A Complex Biopsychosocial Disease,” Grand Rounds, University of Wisconsin School of
         Medicine and Public Health, Madison, WI, February 21, 2019.

     25. “Why Do Health Systems Have A Role?” NASEM: Health Systems Interventions to Prevent Firearm Injuries
         & Death – A Workshop, Washington DC, October 17, 2018

     26. “Vision Zero – Emphasis on Public Health” Transportation Research Board Transportation Safety
         Management Mid-Year Meeting, Washington DC, July 30, 2018

     27. “Gun Violence: A Biopsychosocial Disease: Myths, Science & Prevention”, 2018 Preventive Medicine
         Annual Meeting, American College of Preventive Medicine, Chicago, ILL, May 24, 2018

     28. “International Challenges and Higher Education”, 39th Annual National Conference on Law & Higher
         Education. Stetson University College of Law, Clearwater, FL, February 3, 2018

     29. “Faculty promotion for global health” 4th Annual Midwest Universities for Global Health Meeting: Capacity
         Building in Global Health at Washington University Medical School, December 1, 2017.

     30. “Gun Violence: A Biopsychosocial Disease: Physician Roles and Responsibilities”, Grand Rounds,
         University of Michigan Emergency Medicine Residency Conference, Ann Arbor, MI, November 8, 2017.

     31. “International Partnerships: Global Wisdom, Global Citizens” American Association of Medical Colleges,
         Boston, MA, November 5, 2017.

     32. “Legal Characteristics of Emergency Medicine” Belize Medical and Dental Association XXXVI Congress,
         Belize City, Belize, October 17, 2017.

     33. “Global Health Challenges: The Burden of Injury” University of Norte Dame Eck Institute for Global Health,
         Norte Dame, IN September 28, 2017.

     34. “Gun Violence: Myths, Science, Opportunities”, Underground Science Society, The Sugar Maple,
                       i. Milwaukee, WI, September 11, 2017.

     35. “Gun Violence as a Biopsychosocial Disease Burden: Our Roles and Responsibilities” for The Violence Epidemic:
         Justice, Public Health and Ethics, Center for Bioethics and Medical Humanities, Medical College of Wisconsin,
         Milwaukee, WI, June 13, 2017.

     36. “Global Burden of Road Traffic Injury: Opportunities and Strategies for Prevention and Control: Roles of Civil
         Society” Consortium of Universities for Global Health, Washington DC, April 8, 2017.

     37. “Gun Violence: A Biosocial Disease” Keynote for Wisconsin Chapter of American College of Emergency
         Physician’s 2017 Spring Symposium, Madison, WI, March 28, 2017.
                                                                              VIRAMONTES 003560
                                                                                 CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 21 of 60 PageID #:974
                                                                                                      - 17 -
                                                                            Stephen W. Hargarten, MD, MPH

     38. “Global Burden of Injury” Hainan Medical University, Hainan, China, March 15, 2017.

     39. “MCW’s Impact on the World: From Milwaukee, Wisconsin to Around the Globe”, MCW/Marquette Medical
         Alumni Association 51st Clinical Conference, Sonoma, CA, March 7, 2016.

     40. “Global Health and Medical Education: The Ethics of Short-term International Electives” Advancing Global
         Health: Ethical and Logistical Issues, Bronx, NY, December 5, 2016.

     41. “Global Emergencies” Belize Medical and Dental Association XXXV Congress, Belize City, Belize,
         November 17, 2016

     42. “Shoot to Kill: Shooting Trends Across the Nation” Panel at Marquette University, Milwaukee, WI,
                         i. October 14, 2016.

     43. “Gun Violence: A Biosocial Disease”, Sanford Trauma Symposium, South Dakota Department of Health, Sioux
         Falls, SD, October 11, 2016.

     44. “Global Health from a Milwaukee Perspective” Marquette University Global Health Symposium, Milwaukee,
         September 30, 2016

     45. “Study Abroad Student Safety”, Wisconsin Association of Independent Colleges and Universities Student
         Safety Workshop, Milwaukee, September 28, 2016

     46. “Global Health Challenges”, Notre Dame University, Notre Dame, IN, September 1, 2016

     47. "Beyond the Basics of Health, Safety, Security and Risk Management", Keynote Speaker for The Forum on
         Education Abroad Standards of Good Practice Institute, Northwestern University, Evanston, IL, June 23,
         2016.

     48. “Global Burden of Injury” University College of Dublin, Dublin, Ireland, June 8, 2016

     49. “Global Health: The Ultimate Sustainable Challenge”, Sustainability Summit, Milwaukee, May 13, 2016

     50. “Medical Student Perspectives on Global Health” MCW Today, Tomorrow, and Beyond Symposium Alumni
         Weekend, Milwaukee, April 30, 2016

     51. “Gun Violence: A Biosocial Disease” for Medical College of Wisconsin Nursing Trauma Conference,
         Milwaukee, WI, April 23, 2016.

     52. “Gun Violence: A Biosocial Disease”, Keynote Speaker for Gun Violence: A Public Health Symposium,
         Washington University – Institute for Public Health, St. Louis, MO, April 5, 2016.

     53. “How Violence Impacts Public Health”, Panel Participant for University of Wisconsin-Zilber School of Public
         Health, Milwaukee, WI, February 25, 2016.

     54. “Programs and Policy: Addressing a Global Need for Surgery and Emergency Care” and “Global Burden of
         Injury”, Global Health Conference Midwest, Creighton University, Omaha, NE, February 6, 2016.

     55. “Inequality and Freedom from Violence: Community violence has identifiable causes and implementable
         cures” University of Wisconsin-Milwaukee Fireside Forum, Milwaukee, WI, February 2, 2016

     56. “Global Health: Managing Health & Safety”, 2nd Annual Midwestern Universities for Global Health, Rush
         University, Chicago, IL, December 2, 2015

                                                                              VIRAMONTES 003561
                                                                                 CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 22 of 60 PageID #:975
                                                                                                    - 18 -
                                                                          Stephen W. Hargarten, MD, MPH
     57. “Global Burden of Injury” Visiting Professor, Notre Dame, Notre Dame, IN, October 15, 2015

     58. “Global Burden of Injury” Visiting Professor, University of Wisconsin, Madison, WI, October 12, 2015

     59. “Challenges and Opportunities in Academic Medicine: Collaborating for Global Health” Visiting Professor,
         Universidad Católica de Guayaquil, Guayaquil, Ecuador, May 6, 2015

     60. “Disaster Preparedness & Response: An All Hazard Approach” Consortium of Universities for Global Health Annual
         Meeting, Boston, MA, March 26, 2015

     61. “Injury Science and Geriatrics: Coming of Age Together”, Visiting Professor, Weill Cornell Medical College, Division
         of Geriatrics & Palliative Medicine Grand Rounds, New York, NY, February 12, 2015

     62. “Emergency Medicine and Injury Prevention and Control: A Room with a View”, Visiting Professor, Weill Cornell
         Medical College, Divisions of Emergency Medicine and Geriatrics & Palliative Medicine Grand Rounds, New York,
         NY, February 11, 201.5

     63. “Firearm Injuries”, Community Memorial Hospital Medical Staff Education Program, Menomonee Falls, WI,
         January 16, 2015.

     64. “Firearm Injuries”, Institute of Medicine Forum on Violence, Washington, DC, December 17, 2014

     65. “Global Health Managing Traveler Safety” Midwest Universities for Global Health Inaugural Meeting,
         University of Illinois at Chicago Center for Global Health, December 3, 2014

     66. “Global Health and Medical Education: The Ethics of Short-term International Electives” Advancing Global
         Health: Education, Building, and Support, Albert Einstein College of Medicine, Bronx, New York, November
         10, 2014

     67. “Strengthening Emergency Care in Belize” 33rd Belize Medical and Dental Association International
         Congress, Belize City, Belize, October 31, 2014

     68. “Triage Use and Implementation” 33rd Belize Medical and Dental Association International Congress, Belize
         City, Belize, October 31, 2014

     69. “The Science of Injury Prevention and Control” University of Zagreb School of Medicine, Zagreb, Croatia,
         September 9, 2014

     70. “Challenges and Opportunities in Academic Medicine: Collaborating for Global Health”, University of
         Rzeszow Jubilee of Medical Faculty, Rzeszow, Poland, September 5, 2014

     71. "Burden of Global Violence/Injury” for the 2014 World Affairs Seminar, Carroll University, Waukesha,
         Wisconsin, June 23, 2014

     72. “Practical advice for implementing useful global health curricula and effective academic programs” USAID
         The Future of Global Health: Building Better Professionals & Programs, Washington DC, May 9, 2014

     73. “Global Health and Partnerships” Shanghai Minhang Central Hospital, Shanghai, China, April 25, 2014

     74. “Organizing Injury prevention and control programs" 2014 China- US-Japan Summit Forum of Emergency
         Medicine, Xinhua Hospital, Shanghai, China, April 25, 2014

     75. “Technical Consultation for United Nations Office for Disarmament Affairs”, Research and Information Gathering
         Participant, UN Headquarters, New York, NY, November 19, 2013.

                                                                             VIRAMONTES 003562
                                                                                CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 23 of 60 PageID #:976
                                                                                                     - 19 -
                                                                           Stephen W. Hargarten, MD, MPH

     76. “Gun Violence as a Public Health Issue”, Tuesday Speaker for Milwaukee Rotary Club, War Memorial, Milwaukee,
         WI, October 29, 2013

     77. “Transportation Safety and Injury Prevention,“ Keynote Speaker for Midwest Conference of Institute of
         Transportation Engineers, Pfister Hotel, Milwaukee, WI, June 27, 2013.

     78. “Patient Safety or Injury Control: Two Worlds or One?”, Patient Safety Summit, Johns Hopkins, Baltimore, MD,
         June 21, 2013

     79. “Gun-Related Violence”, Guest Speaker for Milwaukee Forum, Haggerty Museum, Milwaukee, WI, January 17,
         2013.

     80. “Gun Policy Summit”. Expert Panel Participant, Johns Hopkins University, Baltimore, MD, January 14-15, 2013.

     81. “Emergency Medicine: Going Global”, Guest Speaker for Klippel Lecture, Washington University School of
         Medicine, St. Louis, MO, December 4, 2012.

     82. “Global Burden of Injury”, Introduction to Public Health: Global Health, Carroll University, Waukesha, WI, November
         30, 2012, April 20, 2012, November 11, 2011

     83. “Gun Violence: The Strengths and Limits of the Disease Model”, Guns in America: Conflicting Points of View,
         University of Wisconsin, Madison, WI, November 1, 2012.

     84. “Increasing Utilization of NVDRS Data”, National Violent Death Reporting System Reverse Site Visit, Atlanta, GA,
         September 13, 2011.

     85. “Researching Car Crashes and Gun Shot Wounds: Products, Problems, Policies,“ and “Opportunities in Injury
         Research: Getting Started and Connecting the Dots”, Visiting Lecturer for the University of Alberta, Canada, June,
         2011.

     86. “Congressional Briefing”. Expert Testimony, Association for Safe International Road Travel and the U.S.
         Congressional Caucus on Global Road Safety, United Nations Decade of Action for Road Safety 2011-2020 United
         Nations, Washington, DC, May 11, 2011.

     87. “The Team Approach to Caring for Acutely Injured Patients”, Jao Tong University, Xinhua Hospital, Shanghai,
         China, November 9, 2010.

     88. “Trauma Evaluation and Management, TEAM” for 29th Belize Medical and Dental Association International Pre-
         Congress, Belize City, Belize, October 20, 2010.

     89. “The Emergency Department and Systems Approach to Emergency Medicine” for 29th Belize Medical and Dental
         Association International Pre-Congress, Belize City, Belize, October 19, 2010.

     90. “The Public Health Approach to Violence Prevention in Health Care Settings” for International Association for
         Healthcare Security and Safety Conference, Baltimore, MD, June 22, 2009.

     91. “Epidemiology of Travel-Related Injury & Death” for 11th Conference of the International Society of Travel Medicine,
         Budapest, Hungary, May 26, 2009.

     92. “Reducing Firearm Injuries and Death: A Public Health Approach” for Trauma Conference, Kent State University,
         Canton, OH, November 7, 2008.

     93. “Guns and Cars: A Tale of Product Design Flaws Linked with Death & Injury” for Trauma Conference Kent State
         University, Canton, OH, November 7, 2008.
                                                                             VIRAMONTES 003563
                                                                                CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 24 of 60 PageID #:977
                                                                                                     - 20 -
                                                                           Stephen W. Hargarten, MD, MPH

     94. “Gun Violence” for Grand Rounds, Mount Sinai Hospital, Milwaukee, WI, October 17, 2008.

     95. “Town Hall Meeting – Status of Impaired Driving in Wisconsin” for MADD, NHTSA, DOT in Middleton, WI, August
         14, 2008.

     96. “Guns and Cars: Stories for preventing car and gun related deaths” for Grand Rounds, Columbia-St. Mary’s,
         Milwaukee, WI, June 13, 2008.

     97. “Panel on Urban Studies Programs” for 2nd Annual Henry W. Maier State of Milwaukee Summit, Milwaukee, WI,
         April 30, 2008.

     98. “The Public Health Approach to Reduce Alcohol Related Injury and Death” Noon Conference for
         Gundersen Lutheran Trauma & Emergency Center, LaCrosse, WI, November 1, 2007

     99. “From the Bedside to the Community and Beyond: The Physician’s Role in Injury Prevention and Control”, Grand
         Rounds, Philadelphia, PA, October 23, 2007.

     100. “Public Health Approach to Reducing the Burden of Suicide” Grand Rounds for Psychiatry, St. Joseph’s Outpatient
          Conference Center, Milwaukee, WI, June 20, 2007.

     101. “Violence is a Disease”, 2007 Global Health and Social Justice Conference, University of Wisconsin-Milwaukee
          College of Nursing, Milwaukee, WI, March 29, 2007.

     102. “Burden of Injury in Wisconsin: Spelling It Out”, Injury Summit, Holiday Inn, Neenah, WI, October 25, 2006.

     103. “Injury Policy Forum”, EMSC Policy Forum, Monona Terrace, Madison, WI, March 21, 2006.

     104. “To Be or Not to Be: Case Studies in Injury Control and Advocacy”, Seminar on Gun Violence, University of
          Wisconsin, Population Health Institute, Madison, WI, December, 2005.

     105. “Emergency Medicine Leadership”, Yale University, Section of Emergency Medicine, April 2005

     106. “Emergency Medicine Leadership,” Brown University, Department of Emergency Medicine, March 2005

     107. “Emergency Medicine Leadership”, University of Alabama-Birmingham, Department of Emergency Medicine,
          November 2002

     108. “Medical Examiner and Coroner Data for Public Health: A Model Linked System”, Institute of Medicine Workshop
          on the Medicolegal Death Investigation System, Washington, DC, March 23-25, 2003.

     109. “The National Violent Death Reporting System: It’s About Time We’re Connecting-the-Dots for Injury Prevention”,
          University of North Carolina Injury Prevention Research Center Seminar, Chapel Hill, NC, March 17-19, 2003.

     110. “Emergency Medicine Leadership in the 21st Century: Guns and Cars, Acute Care, and Injury Prevention”,
          University of North Carolina Injury Prevention Research Center Seminar, Chapel Hill, NC, March 17-19, 2003.

     111. “Medical Injury”, Grand Rounds at the University of Western Ontario, Ontario, Canada, January 24, 2003.

     112. “Planning for a State Violent Death Reporting System”, National Violent Death Reporting System Implementation
          Training, Atlanta, Georgia, January 16-17, 2003.

     113. “Advocacy in Emergency Medicine”, Grand Rounds at the University of Alabama Birmingham, Birmingham, A.,
          November 20, 2002.

                                                                              VIRAMONTES 003564
                                                                                 CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 25 of 60 PageID #:978
                                                                                                  - 21 -
                                                                        Stephen W. Hargarten, MD, MPH
     114. “Causes of Gun Crime”, American Society of Criminology Conference, Chicago, IL, November 12, 2002.

     115. “Nonfatal Gun Injuries – What We Know, Don’t Know and Need to Know”, The 7th HELP Network Conference,
          Chicago, IL, October 27, 2002.

     116. “Youths and Guns”, Gun Violence Workshop, The National Academies National Research Council Institute of
          Medicine, Washington, D.C., September 16, 2002.

     117. “Injury Prevention: Creating an Agenda for Action”, Springfield, Illinois, July 31, 2002.

     118. “The Public Health Approach to reducing firearm related deaths”, Coalition Against Gun Violence, Cleveland, Ohio,
          June 6, 2002.

     119. “The Physician Scientist as Advocate”, The Spivey Lecture, Society for Academic Emergency Medicine Annual
          Meeting, St. Louis, MO, May 16, 2002.

     120. “Firearm suicides: A two-state comparison”, 6th World Conference on Injury Prevention and Control, Montreal,
          Quebec, Canada, May 12-15, 2002.

     121. “Travel related injury prevention for students”, NAFSA Conference, University of Wisconsin Milwaukee, Milwaukee,
          WI, April 18, 2002.

     122. “Suicide among Wisconsin farmers”, American Association of Suicidology, 35th Annual Conference, Bethesda, MD,
          April 10-13, 2002.

     123. “The relationship between health providers and law enforcement: Information sharing and lessons learned in the
          Firearm Injury Reporting System”, 30th Annual Conference on Value Inquiry – Values in Health Care: Past, Present
          and Future, Milwaukee, WI, April 4-6, 2002.

     124. “The Public Health Approach to Reducing Firearm Injuries”, 13th Annual Trauma Symposium for Coastal Area
          Health Education Center, Wilmington, NC, February 9, 2002.

     125. “Emergency Medicine and Advocacy”, Department of Emergency Medicine Grand Rounds at Johns Hopkins
          School of Medicine, Baltimore, MD, January 31, 2002.

     126. “Gun Violence and Gun Policy Conference”, Brookings Institute, Washington, D.C., January 25, 2002.

     127. “Emergency Medicine Advocacy: A Model Discussion”, Northwestern University, Department of Emergency
          Medicine, December 2001.

     128. “Emergency Medicine Advocacy”, Northwestern University, Chicago, Illinois, December 19, 2001.

     129. “Firearm suicide in Wisconsin 1999: Urban/rural and age-related patterns”, Mobilizing for a Safe USA, Atlanta, GA,
          December 3-5, 2001.

     130. “Improve Research Information and Data on Firearms”, National Academy of Science Committee, 2nd Meeting,
          Irvine, CA, November 15, 2001.

     131. “The Public Health Approach to Reducing Firearm Injuries”, AMA Key Stakeholders Meeting, Oak Brook, IL,
          November, 2001.

     132. “Linking the gun with homicides and suicides: A model analysis of the who, when, and where of the gun’s first
          purchase”, American Society of Criminology, Atlanta, GA, November 6-10, 2001.

     133. “Firearm Injury Data Systems”, AMA Science Reporters Conference, San Francisco, California, October 30, 2001.
                                                                                 VIRAMONTES 003565
                                                                                    CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 26 of 60 PageID #:979
                                                                                                        - 22 -
                                                                              Stephen W. Hargarten, MD, MPH

     134. “Firearm suicide: The Wisconsin experience, 1999”, American Public Health Association, 129th Annual Meeting,
          Atlanta, Georgia, October 20-24, 2001.

     135. “Relationship of household gun ownership to firearm suicide rates in Wisconsin communities”, American Public
          Health Association, 129th Annual Meeting, Atlanta, Georgia, October 20-24, 2001.

     136. “Firearm Homicide in Milwaukee and the Progress of the Firearm Injury Reporting System”, The Milwaukee Fire
          and Police Commission, Milwaukee, Wisconsin, October 18, 2001.

     137. “Identification and Classification of Homicide in Wisconsin 2000: A Comparison of Two Data Systems”, Medical
          College of Wisconsin 2001 Student Research Forum, Milwaukee, Wisconsin, October 4, 2001.

     138. “Demonstrating the Linkage of Data Sets from the Firearm Injury Center and the City of Milwaukee Using
          Geographic Information System Analysis” Medical College of Wisconsin 2001 Student Research Forum,
          Milwaukee, Wisconsin, October 4, 2001.

     139. “The Public Health Challenge and the Model Firearm Injury Reporting System”, Plenary Presentation, Aiming for
          Prevention: International Medical Conference on Small Arms, Helsinki, Finland, September 28-30, 2001.

     140. “Highlights of the Firearm Injury Reporting System’s first statewide report: Investigating regional differences”, 13th
          Annual Milwaukee County Medical Examiners Office Forensic Science Seminar, Milwaukee, Wisconsin,
          September, 2001.

     141. “What We Don’t Know is Killing Us: The Need for Better Data about Firearm Injuries and Deaths”, National
          Academy of Sciences Committee on Law and Justice, Washington, DC, August 30, 2001.

     142. “Injury Control of Gun Shot Wounds”, Advances in Trauma, American College of Surgeons, Kansas City, Missouri,
          December 8, 2000.

     143. “Trauma Care in the State of Wisconsin”, 2000 Annual Meeting of the Wisconsin Chapter of the American College
          of Surgeons, Waukesha, Wisconsin, December 2, 2000.

     144. “Travel Health: Clinical Issues for Occupational and Environmental Health Providers”, American Occupational
          Health Conference, American College of Occupational and Environmental Medicine, Philadelphia, Pennsylvania,
          May 18, 2000.

     145. “To Be or Not to Be a Physician Scientist Advocate: That is the Question”, Emergency Medicine Spring Research
          Forum, University of Michigan, Ann Arbor, May 2000.

     146. “US Citizen Deaths Abroad: What we know, don’t know, and need to know to prevent them”, Occupational Health
          Conference, Philadelphia, Pennsylvania, May 14, 2000.

     147. “Firearms: The Need for Better Information and Safer Guns”, Commission for the Prevention of Youth Violence,
          American Medical Association, Houston Texas, May 9, 2000.

     148. “Understanding State-of-the-Art Treatment & Prevention of Firearm Injuries”, National Conference for Health Care
          Professionals, Froedtert Memorial Lutheran Hospital, Milwaukee, WI, December 10-11, 1999.

     149. “Better Data, Safer Guns Equals Fewer Injuries”, Gun Violence Forum, Entertainment Industries Council, Los
          Angeles, California, November 3-4, 1999.

     150. “Bridging the Gap between Information and Policy: A Public Health Approach to Reducing Firearm Injuries”,
          Conference of Wisconsin Network for Health Policy Research, University of Wisconsin School of Medicine,
          Madison, WI, November 4-5, 1999.
                                                                                VIRAMONTES 003566
                                                                                   CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 27 of 60 PageID #:980
                                                                                                      - 23 -
                                                                            Stephen W. Hargarten, MD, MPH

     151. “Counting Firearm-related Deaths: A case study for better surveillance and knowledge through data linkage,”
          Emergency Medicine New England Conference, Newport, Rhode Island, August 11-13, 1999.

     152. “Guns, Cars & Death: A View from a Room,” Department of Emergency Medicine and Division of Traumatology
          and Surgical Critical Care Grand Rounds, University of Pennsylvania Medical Center, Philadelphia, PA, July 9,
          1999.

     153. “The Scientist as Policy Advocate: Clarifying the Issues and Framing the Data for Effective Policy Development and
          Debate,” 1999 Society for Academic Emergency Medicine Annual Meeting, Boston, MA, May 23, 1999.

     154. “Firearm Injury Surveillance”, The 5th Annual Citizens’ Conference to Stop Gun Violence, The Educational Fund to
          End Handgun Violence, Washington DC, November 13-14, 1998.

     155. “Public Health Strategies to Address Family Violence”, National Advisory Council on Family Violence, Rosemont,
          IL, April 4, 1998.

     156. “Rapid Deceleration Injuries Involving Recreational Vehicles”, Flight for Life’s Annual Emergency Services
          Conference: Trends and Issues 1998, Flight for Life, Milwaukee, WI, April 4, 1998.

     157. “Rapid Deceleration Injuries Involving Recreational Vehicles”, Flight for Life’s Annual Emergency Services
          Conference: Trends and Issues 1998, Flight for Life, Milwaukee, WI, March 31, 1998.

     158. “Taking Aim at Cars and Guns”, Skills Fair 1998, Shared Governance Development Council, Froedtert Memorial
          Lutheran Hospital, Milwaukee, WI, March 26, 1998.

     159. “Preventing Firearm Injury: Protecting Our Children”, Firearm Injury Prevention Training Conference, American
          Academy of Pediatrics, Chicago, IL, March 14-15, 1998.

     160. “Scope and Nature of Firearm Injury Research: Issues and Challenges” Injury Prevention Research Center, The
          University of Iowa, Iowa City, IO, February 1998.

     161. “Mechanism of Injury”, Flight for Life’s Trauma Nurse Specialist Course, Flight for Life, Milwaukee, WI, February 4,
          1998.

     162. “Scope and Nature of Firearm Injury Research: Issues and Challenges”, University of Iowa Injury Prevention
          Research Center, Iowa City, IO, February 3, 1998.

     163. “Adult Option of the Master’s Program in Nursing” Medical College of Wisconsin, Fall Semester, Marquette
          University College of Nursing, Milwaukee, WI, August 24 - December 6, 1997.

     164. National HELP Conference -Tracking the Firearm Epidemic National Conference, Washington DC, April 1997.

     165. Lafollette Institute-Public Health Model for Reducing Firearm Injuries and Deaths, Madison, WI, April 1997.

     166. “Futures in Emergency Medicine Research Conference, Macy Foundation, Washington D.C., March 1997 (invited
          as representing the Association of Academic Chairs in Emergency Medicine)

     167. “Emergency/Trauma Medicine.” Sheboygan Memorial Medical Center, Knights of Columbus Center, Sheboygan,
          WI, February 18, 1997.

     168. “Firearm Injury Prevention: A Model Strategy.” Medical College of Wisconsin, Winter Refresher Course for Family
          Physicians, Pfister Hotel, Milwaukee, WI, January 30, 1997.


                                                                              VIRAMONTES 003567
                                                                                 CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 28 of 60 PageID #:981
                                                                                                  - 24 -
                                                                       Stephen W. Hargarten, MD, MPH
     169. The Johns Hopkins School of Public Health and Hygiene, Gun Policy and Research Center, Baltimore, MD
          December 3-6, 1996.

     170. “The Nature and Scope of Firearm Injury Research: Issues and Challenges.” Visiting Professor, The Johns
          Hopkins School of Public Health and Hygiene, Gun Policy and Research Center, Baltimore, MD, December 3-6,
          1996.

     171. “The Milwaukee County Firearm Injury Reporting System.” Healthy People, National Health Promotion and
          Disease Prevention Objectives, Violent and Abusive Behavior - 1996 Progress Review, Washington, DC,
          November 26, 1996.

     172. “Violence Prevention.” Tenth Annual Summer Trauma Symposium. Paper Valley Hotel & Conference Center,
          Appleton, WI, June 1996.

     173. “Teenage Violence.” Tenth Annual Summer Trauma Symposium. Paper Valley Hotel & Conference Center,
          Appleton, WI, June 1996.

     174. Injury Prevention and Control for Emergency Medicine, Department of Emergency Medicine, University of
          Pittsburgh Medical Center, Pittsburgh, PA, May 1996.

     175. ”Firearm Injury Surveillance System.” 1996 Attorney General’s Law Enforcement Conference, Stevens Point, WI,
          May 1996.

     176. ”The Milwaukee County Firearm Injury Reporting System.” Visiting Professor, Department of Emergency Medicine,
          University of Pittsburgh Medical Center, Pittsburgh, PA, May 1996.

     177. “Tracking the Epidemic.” Third Annual HELP Network Conference: Promoting Public Policy for the Public’s Health,
          guest lecturer, Washington, DC, November 1995.

     178. “Injury and Violence Prevention: Confronting the Crisis.” 69th National School Health Conference of the American
          School Health Association, Milwaukee, WI, October 1995.

     179. ”Guns and Violence: The Tragic Cost.” National Violence Prevention Conference, University of Iowa, Des Moines,
          IA, October 1995.

     180. “Monitoring Firearm Injuries.” National Violence Prevention Conference, University of Iowa, Des Moines, IA,
          October 1995.

     181. “Rural Trauma/Rural Violence.” Day of Country Medicine Conference, Howard Young Medical Center, Minocqua,
          WI, September 1995.

     182. “Firearm Violence and Gun Control in America.” Panel participant at the Wisconsin Surgical Society meeting, Lake
          Geneva, WI, September 1995.

     183. “Milwaukee County Firearm Injury Reporting System: A Model for Injury Prevention.” State of Wisconsin,
          Department of Health and Social Services, Milwaukee Managed Care Forum, Milwaukee, WI, August 1995.

     184. “Firearm Injury Prevention for Primary Care Physicians.” Family Practice Grand Rounds, Waukesha Memorial
          Hospital, August 1995.

     185. “Strategies to Reduce Firearm Deaths.” Wisconsin Council of Administrators of Special Services, Ltd., Madison,
          WI, May 1995.

     186. “Violence Prevention.” State Medical Society of Wisconsin Alliance, 66th Annual Convention, Milwaukee, WI, April
          1995.
                                                                             VIRAMONTES 003568
                                                                                CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 29 of 60 PageID #:982
                                                                                                    - 25 -
                                                                          Stephen W. Hargarten, MD, MPH

     187. “Emergency Medicine Research: A View from the Riverbank.” Faculty Development Seminar Series, University of
          Illinois at Chicago, Department of Emergency Medicine, Chicago, IL, March 1995.

     188. “Committee on Transportation and Infrastructure Subcommittee on Surface Transportation.” Advocates for
          Highway and Auto Safety, Washington, DC, March 1995.

     189. ”Firearm Injuries and Deaths.” Department of Psychiatry, University of Wisconsin - Madison Medical School,
          Milwaukee Campus, WI, March 1995.

     190. “Firearms, Violence and Prevention.” Public Issues Committee, Family Service of Milwaukee, Milwaukee, WI,
          March 1995.

     191. “Injury Control.” Grand rounds, Department of Emergency Medicine, William Beaumont Hospital, Department of
          Emergency Medicine, Royal Oak, MI, March 1995.

     192. “Understanding How to Access Health Care Delivery Systems II Conference.” Milwaukee Regional Medical
          Complex, Milwaukee, WI, March 1995.

     193. “Proposal to Establish a Reporting System for Firearm Injuries.” Public Issues Consortium, 12th Annual Legislative
          Breakfast, Milwaukee, WI, January 1995.

     194. “Firearm Violence: A Public Health Issue.” Marquette University College of Nursing, Milwaukee, WI, January 1995.

     195. “Handgun Violence as a Public Health Problem in our Community.” Social Development Commission, November
          1994.

     196. “Integrated Firearm Injury Reporting System: A Model for Communities.” Second Annual HELP Conference,
          Chicago, IL, October 1994.

     197. “Violence and Firearms: Reshaping the Discussion and Restructuring the Prevention Strategies.” Forum on Youth
          Violence Conference, Wisconsin AODA Education Network, Stevens Point, WI, October 1994.

     198. “Injury Control and Emergency Medicine.” American College of Emergency Physicians Scientific Assembly,
          Orlando, Florida, September 1994.

     199. “Trauma Systems.” American College of Emergency Physicians Scientific Assembly, Orlando, Florida, September
          1994.

     200. “Firearm Injury and Death Problems in the United States, Wisconsin, and Milwaukee.” Wisconsin Coroners &
          Medical Examiners Association, Oshkosh, WI, June 1994.

     201. “Firearm Injuries and Deaths: Reshaping the Discussion.” Department of Emergency Medicine, University of
          Missouri-Kansas City School of Medicine, Kansas City, MO, June 1994.

     202. “Injury Prevention and Control and Emergency Medicine.” Department of Emergency Medicine, University of
          Missouri-Kansas City School of Medicine, Kansas City, MO, June 1994.

     203. “The Science of Injury Prevention: A Framework for Violence Prevention.” The University of Wisconsin -
          Milwaukee, School of Nursing, Continuing Education and Outreach Program, Milwaukee, WI, March 1994.

     204. "Firearm Injuries and Deaths: Reshaping the Discussion." Columbia Hospital Grand Rounds, Milwaukee, WI,
          February 1994.


                                                                             VIRAMONTES 003569
                                                                                CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 30 of 60 PageID #:983
                                                                                                   - 26 -
                                                                        Stephen W. Hargarten, MD, MPH
     205. “Injury Patterns of Motor Vehicle Crashes." Wisconsin EMT Association Annual Conference, Milwaukee, WI,
          January 1994.

     206. "Firearm Injuries and Deaths: Reshaping the Discussion." Milwaukee Forum, Milwaukee, WI, November 1993.

     207. "Alcohol and Medicine: An Emergency Medicine Perspective." Association of American Medical Colleges,
          Washington, DC, November 1993.

     208. "Handguns: Taking Aim at the Problem." Emergency Nurses Association Annual Meeting, LaCrosse, WI,
          September 1993.

     209. “Violence and the Elderly." Wisconsin Chapter American College of Emergency Physicians Annual Conference,
          LaCrosse, WI, September 1993.

     210. "Advocacy in Public Health Workshop." Wisconsin Public Health Association Annual Conference, Appleton, WI,
          June 1993.

     211. "State of the Art Session on Injury Control." Society for Academic Emergency Medicine, San Francisco, CA, May
          1993.

     212. "Injury Prevention: A Crucial Aspect of Travel Medicine." Third Biennial International Travel Medicine Society
          Meeting. Paris, France, April 26, 1993.

     213. "Firearms Deaths and Injuries." Emergency Nurses Association - Milwaukee Chapter, Milwaukee, WI, January
          1993.

     214. "Facial Injuries: Epidemiology, Acute Care, and Prevention." Wisconsin Emergency Medical Technician
          Association Annual Meeting, Milwaukee, WI, January 1993.

     215. "Boating Injuries and Deaths: Challenges for Emergency Medical Services." American Trauma Society - Wisconsin
          Division, Stevens Point, WI, December 1992.

     216. “Firearm Injuries: Public Policy Issues, Data Sources for Firearms Injuries.” American Public Health Association,
          Washington, DC, November 1992.

     217. “Data Sources for Firearms Injuries: Problems and Opportunities.” Milwaukee Academy of Medicine, Milwaukee,
          WI, November 1992.

     218. "EMTs and Injury Prevention: It's in our job description." American Trauma Society - Wisconsin Division,
          Milwaukee, WI, December 1991.

     219. "Firearms and Children." Wisconsin Nurse Practitioners Conference, Madison, WI, November 1991.

     220. "Drownings: Acute care and prevention." American Red Cross - Milwaukee Chapter, Milwaukee, WI, January
          1991.

     221. "Fire-safe cigarettes." Illinois Public Health Association, Chicago, IL, May 1990.

     222. "Travel-related mortality." Travel Medicine Update Conference, Seattle, WA, May 1990.

     223. "Travel-related illness - Where have you been lately?" Wisconsin Chapter, American College of Emergency
          Physicians, October 12, 1989.

     224. "Travel-related mortality." Travel Medicine Conference, Seattle, WA, May 1988.

                                                                               VIRAMONTES 003570
                                                                                  CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 31 of 60 PageID #:984
                                                                                                    - 27 -
                                                                          Stephen W. Hargarten, MD, MPH
      225. "Motor Vehicle Crashes and Seat Belts." Beloit Memorial Hospital, May 1987.



 Exhibits:

             1.      Producer: Photograph Exhibit - "Portraits of the Silent Epidemic" - Head Injury in Wisconsin, 1988.


 Medical College Committees:

             Chair, Global Health Advisory Council, 2014-2019

             Chair, Milwaukee Regional Medical Center Strategic Planning for Global Health, 2014- 2015

             Chair, Global Health Department Liaisons, 2011- present

             Board Member, Medical College Physicians, 2000- 2017

             MCP Finance Committee, 2005-2007

             Froedtert Credential Committee, 2005-2007

             Chair, Global Health Program Advisory Council, 2010-2011

             Member Department of Medicine Search Committee, Medical College of Wisconsin, 2000

             Froedtert & Medical College Joint Management Cabinet, 1997-2000

             Faculty Career Development Advisory Committee, Medical College of Wisconsin, 1998 - 2003

             Chair, Ad Hoc Committee for M3/M4 Curriculum, 1998

             Intramural Review Committee, Department of Medicine, Medical College of Wisconsin, 1999

             Intramural Review Committee, Department of Family Medicine, Medical College of
              Wisconsin, 1997

             Clinical Practice Group Committee, Medical College of Wisconsin, 1995 - 2000

             Curriculum and Evaluation Committee, Medical College of Wisconsin, 1998 – 2000

             Executive Committee of the Faculty, Medical College of Wisconsin, 1994 – present

             Nominating Committee - Medical College of Wisconsin, 1992 – 1995


 Medical College Teaching:

 1.          MCW Faculty’s Efforts in Low- and Middle-Income Countries” PhD in Public and Community Health
             Seminar, January 10, 2018

 2.          “MCW’s Impact on the World: From Milwaukee, Wisconsin to Around the Globe”, Asthma/Allergy, and
             Clinical Immunology Grand Rounds, Children’s Hospital of Wisconsin, September 22, 2017

                                                                                VIRAMONTES 003571
                                                                                   CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 32 of 60 PageID #:985
                                                                                                    - 28 -
                                                                          Stephen W. Hargarten, MD, MPH

 3.     “Global Health Electives: What to Consider with International Travel Health and Wellness” Global Health
        Elective Preparation, September 12, 2017

 4.     “MCW’s Global Health Efforts and Opportunities for Pharmacy” School of Pharmacy, January 16, 2017

 5.     “Global Health Impact” Department of Pediatrics Division of Adolescent Medicine, January 20, 2017

 6.     “Local/Global Lens: Exploring the Impact of Medical Training Experiences in Low-Resource Settings” Pediatrics
        Grand Rounds, December 2, 2016

 7.     “The State of MCW Global Health and Opportunities for Neurosurgery” Neurosurgery Grand Rounds,
        December 2, 2016

 8.     “Global and Local Global Health” Neurology Grand Rounds, December 2, 2016

 9.     “Developing a Medical Elective in Nicaragua” Orthopedic Grand Rounds, November 30, 2016

 10.    “Global Health at MCW” Faculty Council Meeting, October 21, 2015

 11.    “Supporting Faculty’s Global Health Efforts” Administrators Monthly Meeting, September 3, 2015

 12.    “Minimizing GME Global Health Rotation Risk” Graduate Medical Education Committee, April 20, 2015

 13.    “Injury Prevention and Management in Resource Limited Settings” Pediatrics Noon Conference, February 18,
        2015

 14.    “Insight and Direction Global Health Nursing”, Froedtert Global Health Nursing Committee, November 26, 2014

 15.    “Global Health Definitions, Implications”, Physical Medicine and Rehabilitation Grand Rounds, December 5,
        2014

 16.    “Establishing Partnerships to Promote Global Health” PhD in Public and Community Health
        Global Health Seminar, September 29, 2014

 17.    “Promoting Diversity and Inclusion with Global Health Efforts” Diversity and Inclusion Committee, January 28,
        2014

 18.    “Growing a campus-wide Global Health Effort” Froedtert Hospital Operations Committee, Milwaukee,
        Wisconsin, January 22, 2014

 19.    “Growing a campus-wide Global Health Effort” Children’s Hospital and Health System Leadership, Milwaukee,
        Wisconsin December 10, 2013

 20.    “Global Health Program and Faculty Partnerships” Women’s Faculty Council, November 25, 2013

 21.    “Growing Global Health Opportunities” Neurology Faculty Meeting, October 10, 2013

 22.    “M4 Global Health Electives for MCW Students” Global Health Pathway Core Curriculum, April 25, 2013

 23.    “Move toward global health care, what new skills or knowledge will the physicians of the future need to master”
        Docere Panel, January 8, 2013

 24.    “Partnering with Faculty to Grow Global Health” Department of Ophthalmology, November 25, 2012

                                                                            VIRAMONTES 003572
                                                                               CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 33 of 60 PageID #:986
                                                                                                   - 29 -
                                                                         Stephen W. Hargarten, MD, MPH

 25.    “Global Burden of Injury,” The Clinical and Translational Science Institute Seminar, September 20, 2012

 26.    “Ethical Considerations of Defining Global Health” Bioethics Summer Course Poverty, Justice and Global
        Health, June 6, 2012

 27.    “MCW’s Global Health Program: An Exciting New Development” Pediatric Surgery Grand Rounds, May 4,
        2012

 28.    “Grand Rounds in Injury for the Master Clinician Pathway” M1, M2 & M3 students, Medical College of
        Wisconsin, March 29, 2012.

 29.    “What is the Definition of Global Health” PhD in Public and Community Health Seminar Series, February 14,
        2012

 30.    “Global Burden of Injury,” Global Health Pathway Program, January 5, 2012

 31.    “Injury Prevention and Management in Resource Limited Settings” Pediatrics Noon Conference, November
        30, 2011

 32.    “Growing MCW’s Global Health Program and Opportunities to Engage” Medical College of Wisconsin Global
        Health Organization, Student Interest Group, November 28, 2011

 33.    “Faculty’s Global Health Efforts” Global Health Pathway Program, May 13, 2019. “Wound Ballistics”,
        Emergency Medicine Grand Rounds, Medical College of Wisconsin and Froedtert Hospital, March 10, 2011.

 34.    Health Policy and Physician Advocacy” M4 Selective, Family Medicine, Medical College of Wisconsin,
        February 8, 2011

 35.    “Alcohol and and Youth: Big Problem with a Hospital Based Intervention”, Pediatric Trauma Grand Rounds,
        Children’s Hospital and Health System, May 12, 2010

 36.    “Reducing the Public Health Burden of Suicide: A View from the Room” for Department of Psychiatry and
        Behavioral Medicine Grand Rounds, Wheaton Franciscan Healthcare, Wauwatosa, WI, March 18, 2009

 37.    “Alcohol Related Illness in the ED”, Emergency Medicine Grand Rounds Lecture, Medical College of
        Wisconsin and Froedtert Hospital, December, 2008

 38.    “Department Administrator Update”, Emergency Medicine Grand Rounds Lecture, Medical College of
        Wisconsin and Froedtert Hospital, October, 2008

 39.    “Firearm Related Injury: Myths, Physiology & Epidemiology”, Pediatric Trauma Grand Rounds, Children’s
        Hospital of Wisconsin, December 4, 2007

 40.    “Gunshot Wounds: An Integrated Approach to a Biosocial Disease”, Integrated Grand Rounds, Medical
        College of Wisconsin, November 2, 2007

 41.    “Wound Ballistics”, Emergency Medicine Grand Rounds Lecture, Medical College of Wisconsin and
        Froedtert Hospital, July, 2008

 42.    “Injury Prevention”, Emergency Medicine Grand Rounds Lecture, Medical College of Wisconsin and
        Froedtert Hospital, July 5, 2007

 43.    “Emergency Medicine Update”, Grand Rounds Lecture, Medical College of Wisconsin and Froedtert Hospital,
        July 13, 2006
                                                                           VIRAMONTES 003573
                                                                              CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 34 of 60 PageID #:987
                                                                                                    - 30 -
                                                                          Stephen W. Hargarten, MD, MPH

 44.    “Firearm suicide: The Wisconsin experience 2000”, 10th Annual Emergency Medicine Research Forum, Medical
        College of Wisconsin, April 16, 2002

 45.    “Comprehensive Injury Center at MCW”, EPI Seminar Series, Medical College of Wisconsin, October 18, 2001

 46.    “Advanced Trauma Life Support”, Instructor, Medical College of Wisconsin and Froedtert Hospital, June 21,
        2000

 47.    “Acute Trauma Care & Prevention”, AIM Program, Medical College of Wisconsin, Milwaukee, WI, August, 1996,
        1997, 1998, 1999

 48.    “Epidemiology of Unintentional and Intentional Injuries”, Course Director, Medical Student Lecture, Medical
        College of Wisconsin Graduate School, Milwaukee, WI, February-April 1998

 49.    “Bags, Belts, and Bruises”, Emergency Medicine Grand Rounds, Medical College of Wisconsin, Milwaukee, WI,
        February 13, 1997

 50.    “Mechanism of Injury”, Trauma Nurse Specialist Course, Flight for Life, Milwaukee Regional Medical Center,
        Milwaukee, WI, January 29, 1997

 51.    “Firearm Injuries and Deaths,” Department of Epidemiology, medical student lecture, Medical College of
        Wisconsin, Milwaukee, WI, 1995, 1996, 1997, 1998, 1999

 52.    “Firearm Injury Epidemiology,” Epidemiology seminar of the Health Policy Institute, Medical College of
        Wisconsin, Milwaukee, WI, September 1996

 53.    “Propeller Injuries,” Flight for Life Lecture, Medical College of Wisconsin, Milwaukee, WI, March 1996

 54.    “Mechanisms of Injury”, Trauma Nurse Specialist Course. Flight for Life, Milwaukee Regional Medical Center,
        Milwaukee, WI, February 1996

 55.    “Scope and Nature of the Firearm Injury and Death Problem”, Fourth Annual Firearms Seminar, Froedtert
        Memorial Lutheran Hospital, Milwaukee, WI, January 1996

 56.    “Violence as a Public Health Issue,” First Annual Forum - The Changing Urban Health Care Environment:
        Ethical Implications, Sponsored by the Center for Ethics Studies, Marquette University, and the Center for the
        Study of Bioethics at the Medical College of Wisconsin, November 1995

 57.    “Issues & Challenges of Gunshot Wound Research”, J. (Deke) Farrington, MD, Trauma Visiting
        Professorship presented by the Section of Trauma & Emergency Surgery of the Medical College of
        Wisconsin, the American Trauma Society (Wisconsin Division), ACS Wisconsin Committee on Trauma,
        and Flight for Life, Milwaukee, WI, November 1995

 58.    “Firearm Injuries and Deaths: Epidemiology and Prevention”, Pathology lecture to medical students. Medical
        College of Wisconsin, Milwaukee, WI, November 1995

 59.    “Patterns of Injury and Opportunities for Prevention.” Milwaukee Regional Medical Complex, Flight for Life,
        Milwaukee, WI, March 1995

 60.    “Trauma Systems: Where Does Emergency Medicine Fit In?”, Emergency Medicine Grand Rounds, Medical
        College of Wisconsin, Milwaukee, WI, December 1994

 61.    “Wound Management.” Medical Student Lecture/Workshop, Medical College of Wisconsin, Milwaukee, WI,
        December 1994, 1995, 1996, 1997, 1998, 1999
                                                                            VIRAMONTES 003574
                                                                               CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 35 of 60 PageID #:988
                                                                                                       - 31 -
                                                                             Stephen W. Hargarten, MD, MPH

 62.       “Trauma Systems: Who, What, Where?”, Surgery Grand Rounds, Medical College of Wisconsin, Milwaukee,
           WI, November 1994

 63.       “Firearm Injury and Death Problems in the United States, Wisconsin, and Milwaukee," Medical College of
           Wisconsin (Firearms Seminar) January 1994

 64.       “Injury Prevention.” Department of Pediatrics Research Seminar Series, Medical College of Wisconsin,
           Milwaukee, WI, January 1994

 65.       POMP Students, 1992 – 1994

 66.       Biostatistics & Epidemiology Course, First Year Medical Students at the Medical College of Wisconsin, March
           1993

 67.       Introduction to Clinical Medicine Lecture, Junior Medical Students, July 1993

 68.       Advanced Trauma Life Support Instructor/Shock Lecture, Medical College of Wisconsin, June 1993

 69.       Advanced Cardiac Life Support Instructor/Airway Management, Dysrhythmia Recognition, Medical College of
           Wisconsin, June 1993

 70.       Biostatistics Course Lecturer, Freshman Students, March 1993

 71.       “Alcohol and Health: Emergency Medicine View from the Bottom of the Bottle." Medical College of Wisconsin
           Emergency Medicine Grand Rounds, Milwaukee, WI, December 7, 1993

 72.       “The Epidemiology of Firearm Deaths and Injuries." Surgery Grand Rounds, Froedtert Memorial Lutheran
           Hospital, Milwaukee, WI, July 1993

 73.       “Firearm Deaths and Injuries: Lessons from the 1960s and the Corvair." Health Policy Institute Seminar,
           Medical College of Wisconsin Alumni Center, Milwaukee, WI, June 10, 1993

 74.       “Mechanisms of Injury", Trauma Nurse Specialist Course: Flight for Life, Milwaukee, WI, March 1993

 75.       “Firearms and Children", Children's Hospital of Wisconsin Grand Rounds, Milwaukee, WI, July 1992

 76.       Introduction to Advanced Cardiac, Life Support, Junior Students, July 1992

 77.       Wound Management Course, Junior Students, 1991 – present

 78.       Basic Trauma Life Support Course Director, 1989 1990, 1991, 1991


                                                    BIBLIOGRAPHY
 Original Papers:

       1. Barron, A., Hargarten, S., & Webb, T. (2021). Gun violence education in medical school: a call to action. Teaching
          and learning in medicine, 1-6.

       2. Dunton, Z. R., Kohlbeck, S. A., Lasarev, M. R., Vear, C. R., & Hargarten, S. W. (2021). The association between
          repealing the 48-hour mandatory waiting period on handgun purchases and suicide rates in Wisconsin. Archives of
          suicide research, 1-9.


                                                                               VIRAMONTES 003575
                                                                                  CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 36 of 60 PageID #:989
                                                                                                          - 32 -
                                                                           Stephen W. Hargarten, MD, MPH
     3. Kohlbeck, S., Levas, M., Hernandez-Meier, J., & Hargarten, S. (2021). Implementing the Cardiff Model for violence
        prevention: using the diffusion of innovation theory to understand facilitators and barriers to implementation. Injury
        Prevention.

     4. Dunton, Z., Hargarten, S., Kohlbeck, S., & Osman, F. (2021). Homicide: a leading cause of death for black non-
        hispanics in Wisconsin. WMJ (Wisconsin medical journal), 120(S1), S6-S9.

     5. Kohlbeck, S., deRoon-Cassini, T., Levas, M., Hargarten, S., Kostelac, C., Totoratis, M., ... & Smith, J. (2021). 0023
        Multidisciplinary data-sharing for community violence prevention: shifting power to the community.

     6. Martin, I. B., & Hargarten, S. (2020). The antiracist, propatient pledge of emergency medicine. Academic
        Emergency Medicine, 27(9), 932-933.

     7. McDougall, S., Annapureddy, P., Madiraju, P., Fumo, N., & Hargarten, S. (2020, December). Predicting Opioid
        Overdose Readmission and Opioid Use Disorder with Machine Learning. In 2020 IEEE International Conference on
        Big Data (Big Data) (pp. 4892-4901). IEEE.

     8. Hargarten, S. W. (2020). The Bullets He Carried. Western Journal of Emergency Medicine, 21(5), 1036.

     9. Kohlbeck, S, Hargarten, S, Cassidy, L. (2020). Age- and Sex-Specific Risk Factors for Youth Suicide: A
        Mixed Methods Review. WMJ.

     10. Zosel, A., Kohlbeck, S., Davis, C. S., Meurer, L., & Hargarten, S. (2020). Medical student education for injury
         prevention: closing the gap. Injury Prevention.

     11. Kohlbeck, S, Fumo, N, Hargarten, S. (2020). Systems Change for Suicide Prevention Among Adolescents: A Rural
         Wisconsin County Approach. Injury Prevention, Published Online First: 28 February 2020.

     12. Bonk C, Weston B, Davis C, Barron A, McCarty O, Hargarten S. (2019). Saving Lives with Tourniquets: A Review
         of Penetrating Injury Medical Examiner Cases. Prehospital Emergency Care:
         DOI: 10.1080/10903127.2019.1676344

     13. Hernandez-Meier J, Akert B, Zheng C, Guse C, Layde P, Hargarten S. (2019). Status of Legal Firearm Possession
         and Violent and Deaths: Methods and Protocol for a Retrospective Case-Control Study. Injury Prevention;
         Published Online First: 31 January 2019.

     14. Hargarten SW, Lerner EB, Gorelick M, Brasel K, deRoon-Cassini T, Kohlbeck S. Gun Violence: A
         Biopsychosocial Disease. Western Journal of Emergency Medicine: Integrating Emergency Care with
         Population Health, 2018; 19(6), 1024-1027.

     15. Levas M, Hernandez-Meier J, Kohlbeck S, Piotrowski N, Hargarten S. Integrating Population Health
         Data on Violence into the Emergency Department: A Feasibility and Implementation Study. Journal
         of Trauma Nursing: May/June 2018 – Vol 25 – Issue 3/149-158

     16. Rajan S, Branas CC, Hargarten S, Allegrante JP: Funding for Gun Violence Research Is Key to the
         Health and Safety of the Nation. American Journal of Public Health, Am J Public Health. 2018
         Feb;108(2):194-195. doi: 10.2105/AJPH.2017.304235. PMID: 29320291

     17. Hargarten, S: Firearm Injury in the United States: Effective Management Must Address Biophysical and
         Biopsychosocial Factors. Ann Intern Med. 2016 Dec 20;165(12):882-883. doi: 10.7326/M16-2244. Epub
         2016 Oct 18. PMID: 27750331

     18. Bloemen EM, Rosen T, Schiroo JC, Clark S, Mulcare MR, Stern ME, Mysliwie R, Flomenbaum NE, Lachs
         MS, Hargarten S. Photographing injuries in the acute care setting: Development and evaluation of a

                                                                              VIRAMONTES 003576
                                                                                 CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 37 of 60 PageID #:990
                                                                                                       - 33 -
                                                                             Stephen W. Hargarten, MD, MPH
         standardized protocol for research, forensics, and clinical Practice. Acad Emerg Med May 2016; 23(5):653-
         9. Doi:10.1111/acem.12955. Epub 2016 Apr 13.

     19. Rosen T, Hargarten S, Flomenbaum NE, Platts-Mills TF. Identifying elder abuse in the Emergency
         Department: Toward a multi-disciplinary team-based approach. Ann Emerg Med; 63(3):378-82; Sept 2016.

     20. Guse CE, Hargarten S. Limitations of travel data for rate computations. Injury Prevention: Journal of the
         International Society for Child and Adolescent Injury Prevention. 2015; 21(e1):e153.

     21. Vu A, Duber HC, Sasser SM, Hansoti B, Lynch C, Khan A, Johnson T, Modi P, Clattenburg EJ, Hargarten S.
         Emergency Care Research Funding in the Global Health Context: Trends, Priorities, and Future Directions.
         Academic Emergency Medicine December 2013 20(12):1259-63.

     22. Myers SR, Salhi RA, Lerner EB, Gilson R, Mehrotra A, Kraus A, Kelly JJ, Hargarten S, Carr BG: Pilot Study
         Describing Access to Emergency Care in 2 States Using a Model Emergency Care Categorization System.
         Academic Emergency Medicine Volume 20, Issue 9, pages 894–903, September 2013.
     23. Hanlin ER, Delgado-Rendón A, Lerner EB, Hargarten S, Farías R: Fall Risk and Prevention Needs
         Assessment in an Older Adult Latino Population: A Model Community Global Health Partnership. Progress
         in Community Health Partnerships: Research, Education, and Action 2013; 7(2):191-9.

     24. Kowalenko T, Gore R, Sachs CS, Barata IA, Gates D, Hargarten SW, Josephson EB, Kamat S, Kerr HD,
         McClain A, Cunningham RM. Workplace Violence in Emergency Medicine: Current Knowledge and Future
         Directions, Journal of Emergency Medicine, Available online May 2012.

     25. Galvin S, Robertson R, Hargarten S. Injuries Occurring in Medical Students during International Medical
         Rotations: A Strategy towards Maximizing Safety. Family Medicine 2012; Jun 44(6):404-7.

     26. Webb T, Winthrop A, Klingbeil F, Hein L, Czinner M, Christiansen A, Hargarten S, Simpson D. Using an Inter
         professional Approach to Teach about the Disease of Injury. Wisconsin Medical Journal, 2011.

     27. Schlotthauer AE, Guse CE, Brixey S, Corden TE, Hargarten SW, Layde PM. Motor Vehicle Crashes
         Associated with Alcohol: Child Passenger Injury and Restraint Use, Am J Prev Med,
         2011 Mar 40(3): 320-3.

     28. Villaveces A, Christiansen A, Hargarten SW. Developing a Global Research Agenda on Violence and Injury
         Prevention: A Modest Proposal, Injury Prevention, 2010

     29. Pribble JM, Fowler EF, Karmat SV, Wilkerson WM, Goldstein KM, Hargarten SW. Communicating Emerging
         Infectious Disease Outbreaks to the Public Through Local Television News: Public Health Officials as
         Potential Spokespeople, Disaster Medicine and Public Health Preparedness, 2010; (4) 220-5.

     30. Runyan CW, Hargarten S, Hemenway D, Peek-Asa C, Cunningham RM, Costich J, Gielen AC. An Urgent
         Call to Action in Support of Injury Control Research Centers, Am J Prev Med, 2010; 39(1)89-92.

     31. Houry D, Cunningham RM, Hankin A, James T, Bernstein E, Hargarten, S. Violence Prevention in the
         Emergency Department: Future Research Priorities, Journal of Acad Emerg Med, November 2009;
         16(11),1089-95.

     32. Tonellato DJ, Guse CE, Hargarten SW. Injury Deaths of US Citizens Abroad: New Data Source, Old Travel
         Problem. J Travel Med 2009.

     33. Wanta BT, Schlotthauer AE, Guse CE, Hargarten SW. The Burden of Suicide in Wisconsin’s Older
         Population. Wisconsin Medical Journal 2009; 108(2), 87-93.



                                                                             VIRAMONTES 003577
                                                                                CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 38 of 60 PageID #:991
                                                                                                      - 34 -
                                                                            Stephen W. Hargarten, MD, MPH
     34. Hanrahan R, Layde P, Zhu S, Guse C, Hargarten S. The Association of Driver Age with Traffic Injury
         Severity in Wisconsin. Traffic Injury Prevention, 2009; 10(4), 361-367.

     35. Cunningham R, Knox L, Fein J, Harrison S, Frisch K, Walton M, Dicker R, Calhoun D, Becker M, Hargarten
         SW. Before and After the Trauma Bay: The Prevention of Violent Injury Among Youth. Ann Emerg Med.
         April 2009; 53(4) 490-500.

     36. Meisel ZF, Hargarten S, Vernick J. Addressing Prehospital Patient Safety Using the Science of Injury
         Prevention and Control. Prehospital Emergency Care. 2008; 12:4, 411-16.

     37. Layde PM, Meurer LN, Guse CE. Yang H, Laud P, Meurer JR, Grube J, Brasel KJ, Hargarten S.
         Confidential Performance Feedback and Organizational Capacity Building to Improve Hospital Patient
         Safety: Results of a Randomized Trial. In Advances in Patient Safety: New Directions and Alternative
         Approaches. AHRQ Publication No. 08-0034- 2. August 2008. Vol. 2. Culture and Redesign; pp. 1-12.
         Agency for Healthcare Research and Quality, Rockville, MD.

     38. Pribble JM, Trowbridge MJ, Kamat SV, Fowler EF, Goldstein KM, Hargarten SW: Injury Reporting on Local
         TV News: A Prime-Time Opportunity for Prevention, May 2008; 34(5), 420-23.

     39. Pan S, Hargarten S, Zhu S. School Bus and Traffic Safety. Chinese Journal of Tramaology. August 2007.

     40. Guse C, Cortés L, Hargarten S, Hennes H. Fatal injuries of US citizens abroad. J Travel Med. 2007; 14 (5),
         279–287.

     41. Phelan MB, Falimirski ME, Simpson, Czinner ML, Hargarten SW. Competency-based strategies for injury
         control and prevention curricula in undergraduate medical education. Injury Prevention. 2007; 13(1):6-9.

     42. Heng K, Hargarten SW, Craven A, Layde P, Zhu S. Motor vehicle crashes and moderate alcohol Intake –
         Conflict Between Health Advantage and At-Risk Use. Alcohol & Alcoholism. 2006;41:451-54

     43. Cortes LM, Hargarten SW, Hennes HM. Recommendations for water safety and drowning prevention for
         travelers. J Travel Med. 2006; 13(1): 21-34.

     44. Zhu S, Layde P, Guse C, Laud P, Pintar F, Nirula R, Hargarten S. Obesity and risk for death due to motor
         vehicle crashes. American Journal of Public Health, April 2006;94(4):#1-6.

     45. Allen S, Zhu S, Sauter C, Layde P, Hargarten S. A Comprehensive Statewide Analysis of Seatbelt Non-Use
         with Injury and Hospital Admissions: New Data, Old Problem. Academic Emergency Medicine. 2006;13:427-
         34.

     46. Glysch RL, Hale, LJ, Nie C, Hargarten SW. Wisconsin's violent death reporting system: Monitoring and
         responding to Wisconsin's violent deaths. WMJ 2005;104 (1);17-19.

     47. Layde PM, Meurer LN, Guse CE, Meurer JR, Yang H, Laud P, Kuhn EM, Brasel KJ, Hargarten SW. Medical
         injury identification using hospital discharge data. In Advances in Patient Safety: From Research to
         Implementation. AHRQ Publication No. 0500021(1-4) February 2005. Vol 2; pp.119-132. Agency for
         Healthcare Research and Quality, Rockville, MD.

     48. Meurer JR, Meurer LN, Grube J, Brasel KJ, McLaughlin C, Hargarten SW, Layde PM. Combining
         performance feedback and evidence-based educational resources: A model to promote medical injury
         prevention. In Advances in Patient Safety: From Research to Implementation. AHRQ Publication No.
         050021 (1-4). February 2005. Vol 4; pp 237-252. Agency for Healthcare Research and Quality, Rockville,
         MD.


                                                                            VIRAMONTES 003578
                                                                               CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 39 of 60 PageID #:992
                                                                                                    - 35 -
                                                                        Stephen W. Hargarten, MD, MPH
     49. Pan S, Chen E, Zhu S, Layde P, Pirrallo R, Hargarten S. Epidemiology Characteristics of Road Traffic
         Injury in China. Chin J Emerg Med. 2005;14(9):709-14.

     50. Sauter C, Zhu S, Allen S, Hargarten S, Layde P: Increased Risk of Death or Disability in Unhelmeted
         Wisconsin Motorcyclists. WMJ. 2005; 104 (2): 39-44.

     51. Shiffler T, Hargarten SW, Withers RL. The burden of suicide and homicide of Wisconsin's children and
         youth. WMJ 2005;104(1):62-67.

     52. Vernick JS, O’Brien M, Hepburn LM, Johnson SB, Webster DW, Hargarten SW. Unintentional and
         undetermined firearm-related deaths: a preventable death analysis for three safety devices. Injury
         Prevention 2003;9:307-311.

     53. Milne JS, Hargarten SW, Kellerman AL, Wintemute GJ: Effect of current federal regulations on handgun
         safety features. Ann Emerg Med January 2003; 41(1):1-9.

     54. Hargarten SW: The Physician’s Role in Preventing Small Arms Injury. Medicine Conflict and Survival. 18(4):
         389-393, Oct.-Dec. 2002.

     55. Kuhn EM, Nie CL, O’Brien ME, Withers RL, Wintemute GJ, Hargarten SW. Missing the target: A
         comparison of buyback and fatality-related guns. Injury Prevention 8:143-146, 2002.

     56. Layde P, Maas L, Teret S, Brasel K, Kuhn E, Mercy J, Hargarten SW. Patient Safety Efforts Should Focus
         on Medical Injuries. JAMA 287(15):1993-7, 2002.

     57. Hargarten SW. Docs and cops: A collaborating or colliding partnership? Ann Emerg Med 2001; 38:438-440.

     58. Hargarten SW. Three shots, two dead, five errors, one gun: A recipe for prevention? Ann Emerg Med 2001;
         37:340-341.

     59. Cortes L, Hargarten SW. Preventive care in the emergency department: a systematic literature review on
         emergency department-based interventions that address smoke detectors in the home. [Review] [21 refs]
         Academic Emergency Medicine. 8(9):925-9, 2001.

     60. Nie C, Hargarten SW. Wisconsin needs to support death investigation: Here’s why. Wis Med J 2001;100(2): 60-
         62.

     61. Brasel K, Layde P, Hargarten SW. Evaluation of Error Medicine: Application of a Public Health Model.
         Academic Emergency Medicine November 2000; 7: 1298-1300.

     62. Hargarten SW, Kuhn EM, Mercy JA, Withers RL, Nie CL, O’Brien ME. Suicide guns: why collect the
         information? Injury Prevention 2000;6:245-246.

     63. Barber C, Hemenway D, Hargarten SW, Kellermann A, Azrael D, Wilt S. “Call to arms” for a national reporting
         system on firearm injuries. Am J Public Health. 2000;90:1191-93.

     64. Hootman JM, Annest JL, Mercy JA, Ryan GW, Hargarten SW: National estimates of non-fatal firearm related
         injuries other than gunshot wounds. Jour Inj Prev 6(4):263-267, 2000.

     65. Cisler RA, Hargarten SW: Public health strategies to reduce and prevent alcohol-related illness, injury and
         death in Wisconsin and Milwaukee County. WMJ, June 2000, 71-78.

     66. Withers RL, Mercy JA, Hargarten SW: Public health: A successful paradigm applied to firearm injuries. WMJ
         99(1):48-50, 2000.

                                                                             VIRAMONTES 003579
                                                                                CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 40 of 60 PageID #:993
                                                                                                    - 36 -
                                                                        Stephen W. Hargarten, MD, MPH
     67. Milne J, Hargarten SW: Handgun safety features: A review for physicians. J Trauma: Injury, Infection and
         Critical Care 47(1):145-150, 1999.

     68. Vernick JS, Meisel ZF, Teret SP, Milne JS, Hargarten SW: “I didn’t know the gun was loaded”: an examination
         of two safety devices that can reduce the risk of unintentional firearm injuries. Journal of Public Health Policy
         20(4):427-440, 1999.

     69. Milne J, Hargarten SW: The availability of extrinsic handgun locking devices in a defined metro area. WMJ
         98(7):25-28, 1999.

     70. Wolff M, Pirrallo RG, Hargarten SW: Strengthening emergency medicine in Poland: A training and partnership
         model. Acad Emerg Med 5(12):1187-1192, 1998.

     71. Freed LH, Vernick JS, Hargarten SW: Prevention of firearm-related injuries and deaths among youth—a
         product orientated approach. Pediatric Clinics of North America 45(2):427-438, 1998.

     72. Fox J, Stahlsmith L, Remington P, Tymus T, Hargarten S: The Wisconsin firearm-related injury surveillance
         system. Am J Prev Med 15(3S):101-108, 1998.

     73. Teret SP, Defrancesco S, Hargarten SW, Robinson KD: Making Guns Safer. Issues in Science and
         Technology, 14(4): 37-40, 1998.

     74. Mannenbach M, Hargarten SW, Phelen MB: Alcohol use among injured patients aged 12 to 18
         years. Acad Emerg Med 4(1): 40-44, 1997.

     75. Yoganandan N, Pintar FA, Kumaresan S, Maiman DJ, Hargarten SW. Dynamic Analysis of
         Penetrating Trauma. Journal of Trauma-Injury Infection & Critical Care 42(2):266-72, 1997.

     76. Hargarten SW, Haskins L, Stehlsmith L, Chatterjee B, Morgan J, Remington P, Nashold R, Peterson
         P, Karlson T: Firearm-related deaths and hospitalizations - Wisconsin, 1994. CDC M&M Wkly
         Report, Sept 6, 1996: 45(35): 757-759.

     77. Pollock G, Brady W, Hargarten S, DeSilvey D, Carner CT: Hypoglycemia manifested by sinus
         bradycardia: A report of three cases. Acad Emerg Med 3(7): 700-707, 1996.

     78. Tymus TA, O’Brien ME, Hargarten SW: Wisconsin firearm injury surveillance system development:
         A comparison of medical examiner/coroner data. WMJ 95(5):277-282, 1996.

     79. Hargarten SW, Anderson A, Walker J, Barboriak JJ.: Travel of U.S. citizens after coronary artery
         bypass surgery. J Travel Med 1996; 3(1): 7-10.

     80. Hargarten SW, Karlson TA, O’Brien ME, Hancock J, Quebbeman E: Characteristics of firearms
         involved in fatalities. JAMA 275(1): 42-45, 1996.

     81. Meldon S, Hargarten SW: Ligamentous injuries of the wrist. JEM 13(2): 217-225, 1995.

     82. Wang-Cheng R, Dillig K, Buthie E, Gilson I, Greaves W, Hargarten S, Nannis P: Public health
         strategies: To reduce firearm injuries and deaths in Milwaukee county - Executive Summary. WI
         Med J 572-584,1995.

     83. Pirrallo RG, Wolff M, Simpson DE, Hargarten SW: Analysis of an international EMS train-the-trainer
         program. Ann Emerg Med 25(5): 656-659, 1995.

     84. Hargarten SW, Karlson T: Motor vehicle crashes and seat belts: A study of emergency physicians’
         procedures, charges, and documentation. Ann Emerg Med 24(5): 857-860, 1994.
                                                                               VIRAMONTES 003580
                                                                                  CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 41 of 60 PageID #:994
                                                                                                       - 37 -
                                                                             Stephen W. Hargarten, MD, MPH

     85. Kellermann A, Conway C, et al: Access of Medicaid recipients to outpatient care. New Eng J Med
         1994; pp1426-1430.

     86. Hargarten SW, O’Brien M: Trends in motor vehicle and firearm deaths in Wisconsin: An analysis for
         examining prevention strategies. WI Med J 93(10): 521-524, 1994.

     87. Garrison HG, Runyan CW, Tintinalli JE, Barber CW, Bordley WC, Hargarten SW, Pollock DA, Weiss
         HB: Emergency department surveillance: An examination of issues and proposal for a national
         strategy. Ann Emerg Med 24(5): 849-856, 1994.

     88. Aufderheide T, Apprahamian C, Mateer J, Rudnick E, Manchester EM, Lawrence SW, Olson SW,
         Hargarten SW: Emergency airway management in hanging victims. Ann Emerg Med 24(5): 879-
         884, 1994.

     89. Kefer MP, Hargarten SW, Jentzen J: Death after discharge from the emergency department. Ann
         Emerg Med 24(6): 1102-1107, 1994.

     90. Hargarten SW, Karlson T, Vernick JS, Aprahamian C: Motorboat propeller injuries in Wisconsin:
         Enumeration and prevention. J Trauma 37(2): 187-190, 1994.

     91. Hargarten SW: Injury prevention: A crucial aspect of travel medicine. J Trvl Med 1(1): 48-50, 1994.

     92. Meldon S, Hargarten SW: Airplane vacuum toilets: An uncommon travel hazard. J of Trvl Med
         1(2):104-105, 1994.

     93. Bernstein E, Goldfrank LR, Kellerman AL, Hargarten SW, Jui J, Fish SS, Herbvert BH, Flores C,
         Caravati ME, Krishel S, et al: A public health approach to emergency medicine in preparing for the
         twenty-first century. Acad Emerg Med 1(3): 277-286, 1994.

     94. Weesner CL, Hargarten SW, Aprahamian C, Nelson DR: Fatal childhood injury patterns in an urban
         setting: The case for primary prevention. Ann Emerg Med 23(2): 231-236, 1994.

     95. Hargarten SW: Injury control. Acad Emerg Med 1(2): 168-171, 1994.

     96. Hargarten SW, Bouc GT: Emergency air medical transport of United States citizen tourists: 1988-
         1990. Air Med J 12(10): 398-402, 1993.

     97. Hargarten SW, Karlson T: Injury control: A crucial aspect of emergency medicine. Emerg Med Clin
         N Amer 11(1):255-262, 1993.

     98. Lambrecht CJ, Hargarten SW: Hunting-related injuries and deaths in Montana: The scope of the
         problem and a framework for prevention. J of Wilderness Med 4: 175-182, 1993.

     99. Walker B, Hargarten SW: Another drug-related death. J of Emerg Med 10(5): 649-650, 1992.

     100. Hargarten SW, Roberts MJ, Anderson AJ: Cancer Presentation in the Emergency Department: A
          Failure of Primary Care. Am J Emerg Med, 10(4):290-293, 1992.

     101. Hargarten SW: Availability of safety devices in rental cars: An international survey. Trvl Med Interntl
          1992; 10(3): 109-110.

     102. Hargarten SW, Hanel DP: Volar metacarpal phalangeal joint dislocation: A rare and often missed
          injury. Ann Emerg Med 21(9): 1157-1159, 1992.

                                                                               VIRAMONTES 003581
                                                                                  CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 42 of 60 PageID #:995
                                                                                                 - 38 -
                                                                      Stephen W. Hargarten, MD, MPH
     103. Baker T, Hargarten SW, Guptill KS: Uncounted dead: Americans dying overseas. Public Health
          Reports 107(2): 155-159, 1992.

     104. Grunert BK, Hargarten SW, Matloub HS, Sanger JR, Hanel DP, Yousif NJ: Predictive value of
          psychological screening in acute hand injuries. J Hand Surg –Am Vol 17(2): 196-199, 1992.

     105. Hargarten SW: International travel and motor vehicle crash deaths: The problem, risks, and
          prevention. Trvl Med Interntl 9(3): 106-110, 1991.

     106. Hargarten SW, McKinney WP: Malaria in Wisconsin 1981-1989: A review of cases and update on
          chemoprophylaxis. WI Med J 90(5): 215-217, 1991.

     107. Hargarten SW: All terrain vehicle mortality in Wisconsin: A case study in injury control. Amer J
          Emerg Med 9(2): 149-152, 1991.

     108. Hargarten SW, Baker TD, Guptill K: Overseas fatalities of United States citizen travelers, 1975 and
          1984: An analysis of deaths related to international travel. Ann Emerg Med 20(6): 622-626, 1991.

     109. Guptill KS, Hargarten SW, Baker TD: American travel deaths in Mexico: Causes and prevention
          strategies. West J Med 154:169-171, 1991.

     110. Hargarten SW, Baker T, Baker TD: Injury deaths and American travelers. Travel Medicine:
          Proceedings of the First Conference on International Travel Medicine 1-64, 1988.

     111. Hargarten SW, Baker SP: Fatalities in the Peace Corps: A retrospective study: 1962-1983. JAMA
          254(10): 1326-1329, 1985.


 BOOKS/CHAPTERS/MONOGRAPHS/NON PEER-REVIEWED ARTICLES:

     1. Kohlbeck S., Pederson L., Hargarten S. (2020) Defining Gun Violence Using a Biopsychosocial
        Framework: A Public Health Approach. In: Geffner R., White J.W., Hamberger L.K., Rosenbaum A.,
        Vaughan-Eden V., Vieth V.I. (eds) Handbook of Interpersonal Violence and Abuse Across the Lifespan.
        Springer, Cham. https://doi.org/10.1007/978-3-319-62122-7_308-1

     2. Keystone, JS, Kozarsky, PE, Freedman, DO, Nothdruft, HD, and Connor, BA, Hargarten S. Chapter 47:
        "Injuries and Injury Prevention", Travel Medicine 3rd Edition, El Sevier.

     3. Yonas MA, Frattaroli S, Liller KD, Christiansen A, Gielen AC, Hargarten S, Olsen LM. Moving Child and
        Adolescent Injury Prevention and Control Research into Practice: A Framework for Translation. Injury
        Prevention for Children and Adolescents: Research, Practice, and Advocacy (2nd edition). American Public
        Health Association, 2012 Print ISSN: 0090-0036 | Electronic ISSN: 1541-0048.

     4. Hargarten SW, Lerner EB: Injury Prevention and Control. Rosen's Emergency Medicine 7th Edition
        2009;37:286-294

     5. Hargarten SW: Injuries and Injury Prevention. In Health Problems While Traveling pp 485-491, 2008.

     6. Runge J, Hargarten SW: Injury Prevention and Control. In Emergency Medicine: Concepts and Clinical
        Practice, Marx J, Hockberger S, Walls R., 6th ed, Mosby, Vol 1, pp 940-951, 2006.

     7. Hargarten SW, Grenfell R: Travel-related Injuries: Epidemiology and Prevention. In the Textbook of
        Travel Medicine and Health, HL DuPont, MD and R Steffen, MD, 2nd Edition, B.C. Decker Inc., 1999.


                                                                              VIRAMONTES 003582
                                                                                 CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 43 of 60 PageID #:996
                                                                                                   - 39 -
                                                                        Stephen W. Hargarten, MD, MPH
     8. Freed LH, Vernick JS, Hargaten SW: Prevention of Firearm-related Injuries and Deaths Among
        Youths: A Product-Oriented Approach. In Pediatric Clinics of North America, Saunders, 45(2): 427-
        438, 1998.

     9. Runge J, Hargarten SW: Injury Control. In Emergency Medicine: Concepts and Clinical Practice,
        Rosen, Barkin, 4th ed, Mosby, Vol 1, pp 397-406, 1997.

     10. Karlson T, Hargarten SW: Reducing Injury and Death: A Public Health Sourcebook on Guns.
         Rutgers University Press, 1997

     11. Hargarten SW, Gursu KG: The Travel Related Injuries, Epidemiology, and Prevention. In Textbook
         of Travel Medicine and Health, H.L. DuPont, MD and R. Steffen, MD, ed, B.C. Decker Inc., 1997.

     12. Hargarten SW, Williams JM: Injury Prevention and the Role of the EMS Provider. In Basic Trauma
         Life Support for Paramedics and Advanced EMS Providers, John Emory Campbell, MD, FACEP
         (Ed), American College of Emergency Physicians, Brady, Prentice Hall, New Jersey, 1995.

     13. Swart GL, Hargarten SW: Emergency Department Management of Intoxication with Drugs of Abuse.
         In Pharmacological Therapies in Drug and Alcohol Disorders, N.S. Miller, ed. Marcel-Dekker, Inc,
         New York, 1994.

     14. Martinez R, Gardner J, et al.: “Applying an Injury Control Model to the Treatment of Motor Vehicle-
         Related Injuries. American College of Emergency Physicians, Dallas, Texas, 1994.

     15. Hargarten SW: The Epidemiology of Travel-Related Deaths. In Travel Medicine Advisor. E. Jong
         and J. Keystone, eds. American Health Consultants, Atlanta, Georgia, 1990.

     16. Sheridan DP, Winogrond IR, et al: The Preventive Approach to Patient Care. Elsevier Science
         Publishing, 1987.



 COMMENTARY, EDITORIALS AND LETTERS TO THE EDITOR:

     1. Hargarten, Stephen W. Lerner, E. Brooke Gorelick, Marc Brasel, Karen deRoon-Cassini, Terri Kohlbeck,
        Sara. Commentary - Gun Violence: A Biopsychosocial Disease. West J Emerg Med. Sept 10, 2018;19(6)

     2. Hargarten S., MCJATLANTA Editorial: Dr. Stephen Hargarten: Gun Violence a ‘Public Health Issue’
        Milwaukee Community Journal, March 5, 2018

     3. Hargarten SW.Editorial: Firearm Injury in the US: Effective Management Must Address Biophysical and
        Biosocial Factors. Annals of Internal Medicine, 2016 Dec 21; 24(65).

     4. Hargarten S. Reflections on a 37 Years of EM Clinical Practice. Academic Emergency Medicine, 2016.

     5. Hargarten S. Reflections on a Mass Shooting. Academic Emergency Medicine, 2015.

     6. Hargarten S. Opinion Editorial: The Global Burden of Gun Violence. Milwaukee Journal-Sentinel,
        January 30, 2016.

     7. Hargarten S. Reflections on Leaving the Bedside. Academic Emergency Medicine, December 2015;
        23(1):113.

     8. Hargarten S, Halverson J. Opinion Editorial: Reducing Gun Violence in Milwaukee. Milwaukee
        Journal-Sentinel, May 9, 2015.
                                                                             VIRAMONTES 003583
                                                                                CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 44 of 60 PageID #:997
                                                                                                   - 40 -
                                                                         Stephen W. Hargarten, MD, MPH

     9. Guse C, Hargarten S. Correspondence: Limitations of Travel Data for Rate Computations. Injury
        Prevention, February 21, 2014.

     10. Hargarten S, Martin IBK, Hauswald M, Hirshon JM. Executive Summary: Global Health and
         Emergency Care – What Do We Need to Know to Address the Burden of Illness and Injury?
         Academic Emergency Medicine, December 2013; 20(12):1213-15.

     11. Hargarten S. Using Alcohol as an Excuse to Walk Away from the Patient. Milwaukee Journal-
         Sentinel, March 6, 2010.

     12. Hargarten S, Reed J. First Step in Preventing Violent Deaths: Data. Milwaukee Journal-Sentinel,
         Jun 21, 2008.

     13. Corden T, Hargarten S, Brixey S, Clementi B, Peterson N. Booster Seats: Inform Parents. Milwaukee
         Journal-Sentinel, Nov 15, 2007.

     14. Hargarten SW. Docs and cops: A collaborating or colliding partnership? Ann Emerg Med October
         2001;38:438-440.

     15. Hargarten SW, Cortes LM. Landmines: Not Just Another Travel Risk. Journal of Travel Medicine.
         8(5):229-231.

     16. Hargarten SW. Three shots, two dead, five errors, one gun: a recipe for prevention? Ann Emerg Med
         March 2001;37:340-341.

     17. Hargarten, SW, Kuhn EM, Mercy JA, Withers RL, Nie CL, Obrien ME: Suicide guns: Why collect
         this information? Jour Inj Prev 6(4):245-246, 2000.

     18. Barber C, Hemenway D, Hargarten S, Kellermann A, Azrael D, Wilt S: “A Call to Arms” for a National
         Reporting System on Firearm Injuries. Editorial. American Journal of Public Health 90:8:1191-1193,
         2000.

     19. Withers RL, Mercy JA, Hargarten SW: Public health: A successful paradigm applied to firearm
         injuries. WI Med Journal, Jan/Feb 2000.

     20. Hargarten SW: Emporiatric Medicine—Growing into the 21st century: From patient care to population
         care. Editorial. J Travel Med 6(2):59, 1999.

     21. Hargarten SW: Alcohol-related injuries: Do we really need more proof? Editorial; comment. Ann
         Emerg Med 33(6):699-701,1999.

     22. Hargarten SW: Injury control research and wilderness medicine: a babe dangling in the woods.
         Editorial. Wilderness & Env Med 10(1):2, 1999.

     23. Hargarten SW: Alcohol-related research and advocacy: Much to do, many places to do it! Editorial.
         Ann Emerg Med 31(5): 638-639, 1998

     24. Withers R, Hargarten SW. Real data needed on firearms and firearm safety. Editorial. Wisconsin
         Lawyer 71(4), 1998.

     25. Hargarten SW, Olson L, Sklar D: Emergency Medicine and injury control research: Past, present,
         and future. Editorial. Acad Emerg Med 4(4): 243-244, 1997.

     26. Hargarten SW: So, just do it... Go upstream. Acad Emerg Med 3(4): 293-294,1996.
                                                                           VIRAMONTES 003584
                                                                              CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 45 of 60 PageID #:998
                                                                                                    - 41 -
                                                                          Stephen W. Hargarten, MD, MPH

     27. Rubens AJ, Hargarten SW, Oleckno WA: Comparison between emergency department and inpatient
         E-codes. Letter. Acad Emerg Med 3(4): 385-3866,1996.

     28. Hargarten SW: Atlanto-occipital dislocation. J Emerg Med 11(6):760-761, 1993.

     29. Hargarten SW: Travel related diseases: Injury and infectious disease prevention. J Wilderness
         Medicine 4(4): 464-465,1993.

     30. Quebbeman EJ, Hargarten SW: The black talon: A new risk for percutaneous injury. Letter. J
         Trauma 35(3): 489, 1993.

     31. Jameson SJ, Hargarten SW: Calcium pretreatment to prevent Verapamil induced hypotension in
         patients with SVT. Editorial. Ann Emerg Med 21(1): 68,1992.

     32. Schultz CH, Hargarten SW, Babbitt J: Inhalation of a coin and a capsule from metered-dose inhalers.
         Letter. New Engl J Med 325(6): 431-432,1991.

     33. Hargarten SW: Injuries in Wisconsin. Letter. WI Med J 89(4):158,1990.

     34. Hargarten SW: Injury prevention in emergency medicine. J Emerg Med 6(3):248, i. 1988

     35. Hargarten SW, Sanders AB: Injury prevention in medical school curriculums. Ann Emerg Med 15(2):
         226, 1986.



 ABSTRACTS:

         1.       Rajan S, Branas C, Hargarten S, Allegrante J: Funding for Gun Violence Research Is Key
                  to the Health and Safety of the Nation. American Journal of Public Health, January 10, 2018

         2.       Kopatich D, Hernandez-Meier J, Hargarten S: Geographic Fluctuations of Violent Deaths in
                  Children and Youth over Time. 2015 Injury Prevention (21).

         3.       Meurer LN, Bernstein R, Brousseau DC, Hargarten S, Treat R: Primary care match is
                  associated with scholarly concentrations focused on underserved local and global
                  communities. 2015 AAMC Medical Education Meeting, Baltimore, MD, November 2015

         4.       Oswald J, Kostic M, Gummin D, Kopp B, Hargarten S. Poison Center Consultation
                  Decreases Hospital Length of Stay and Inpatient Charges, North American Congress of
                  Clinical Toxicology, Denver, CO, October, 2010

         5.       Woods LA, Kuhn EM, Nie CL, Hargarten SW. Losing Wisconsin dairy farmers to suicide.
                  American Public Health Association 130th Annual Meeting and Exposition, Philadelphia,
                  Pennsylvania, November 9-13, 2002.

         6.       Woods LA, Kuhn EM, Nie CL, Jashinsky LA, Hargarten SW. Suicide among Wisconsin
                  farmers. American Association of Suicidology, 35th Annual Conference, Bethesda, MD, April
                  10-13, 2002.

         7.       Kuhn EM, Mercy JA, Nie CL, O’Brien ME, Withers RL, Hargarten SW: Firearm homicide in
                  relation to location of public housing in the City of Milwaukee. American Society of
                  Criminology, San Francisco, CA, Nov 15-18, 2000.

                                                                            VIRAMONTES 003585
                                                                               CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 46 of 60 PageID #:999
                                                                                                 - 42 -
                                                                      Stephen W. Hargarten, MD, MPH
        8.    O’Brien M, Nie C, Kuhn E, Hargarten S, Withers R: Criminal history and firearm ownership
              of firearm homicide perpetrators. American Society of Criminology, San Francisco, Nov 15-
              18, 2000.

        9.    Hargarten SW, Kuhn EM, Nie C, O’Brien, Withers R: Analysis of firearm type, caliber, and
              manufacturer associated with homicides and suicides in a defined geographic region.
              APHA, Boston, Nov 12-16, 2000.

        10.   Nie CL, Kuhn EM, Mercy JA, O’Brien ME, Hargarten SW: Characteristics of firearms
              involved in family and intimate partner homicides: Milwaukee County, 1991-1998. National
              Conference on Health Care and Domestic Violence, San Francisco, Oct 13-14, 2000.

        11.   Milne JS, Nie CL, O’Brien M, et al: Homicide and Suicide Handguns: Two Unique
              Populations, Emergency Medicine Forum, Medical College of Wisconsin, Milwaukee, WI,
              April 18, 2000.

        9.    Hargarten SW, Kuhn EM, Nie CL, Withers RL, Wintemute GJ: Homicide Gun
              Characteristics Before and After the 1994 Crime Bill. American Public Health Association,
              127th Annual Meeting, Chicago, Illinois, Nov 7-11, 1999
        10.   O’Brien ME, Hargarten SW, Nie CL, Withers RL, Kuhn EM. Linking the gun with the death:
              the who, when, and where of the gun’s first purchase. American Society of Criminology,
              Toronto, Canada, November 17-20, 1999.

        11.   Milne JS, Nie CL, O’Brien ME, Hargarten SW. Effect of the Bureau of Alcohol, Tobacco, and
              Firearm (ATF) Factoring Criteria on Homicide and Suicide Handguns. American Society of
              Criminology, Toronto, Canada, November 17-20, 1999.

        12.   Withers RL, Reza A, Hargarten SW. A Survey of State Reporting Statutes for Gunshot
              Wounds. American Society of Criminology, Toronto, Canada, November 17-20, 1999.

        13.   Hargarten SW, Kuhn EM, Nie CL, O’Brien ME, Withers RL, Wintemute GJ. Homicide gun
              characteristics before and after the 1994 Crime Bill. American Society of Criminology
              Conference, Toronto, Ontario, Nov 17-20, 1999

        14.   Milne JS, Nie CL, O’Brien ME, Hargarten SW. Effect of the Bureau of Alcohol, Tobacco, and
              Firearm (ATF) Factoring Criteria on Homicide and Suicide Handguns. American Public
              Health Association, 127th Annual Meeting, Chicago, IL, November 7-11, 1999.

        15.   O’Brien ME, Hargarten SW, Nie CL, Withers, RL, Kuhn EM. Linking the gun with the death:
              The who, when, and where of the gun’s first purchase. American Public Health Association,
              127th Annual Meeting, Chicago, IL, November 7-11, 1999.

        16.   Kuhn EM, Nie CL, O’Brien ME, Withers RL, Wintemute GJ, Hargarten SW: A comparison of
              buyback and fatality-related guns. American Public Health Association, 127th Annual
              Meeting, Chicago, Illinois, Nov 7-11, 1999 and American Society of Criminology
              Conference, Toronto, Ontario, Nov 17-20,1999.

        17.   Withers RL, Reza A, Hargarten SW. A survey of state reporting statutes for gunshot
              wounds. American Public Health Association, 127th Annual Meeting, Chicago, IL, November
              7-11, 1999.

        18.   Hargarten SW, Kuhn EM, Nie CL, O’Brien ME, Withers RL, Wintemute GJ. Homicide gun
              characteristics before and after the 1994 Crime Bill. Second Wisconsin Health Services
              Research Conference: Health Services Policy Practice and Research: Making Connections,
              Madison, WI, November 4-5, 1999.
                                                                        VIRAMONTES 003586
                                                                           CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 47 of 60 PageID #:1000
                                                                                                - 43 -
                                                                      Stephen W. Hargarten, MD, MPH

        19.    Nie CL, Kuhn EM, O’Brien ME, Withers RL, Hargarten SW. Firearm homicide-suicide events
               in Southeastern Wisconsin. American Association of Suicidology, Houston, Texas, April 15-
               17, 1999.

        20.    Kuhn EM, Nie CL, O’Brien ME, Withers RL, Hargarten SW. Firearms used in Southeastern
               Wisconsin suicides. American Association of Suicidology, Houston, Texas, April 15-17,
               1999.

        21.    Nie CL, Hargarten SW. Reducing Firearm Injuries: Health Providers and Survivors Working
               Together. The Fifth National HELP Network Conference, San Francisco, California,
               February 5-6, 1999.

        22.    Hargarten SW, O’Brien ME, Quebbeman EJ, Nie CL, Kuhn EM. Integrated firearm injury
               reporting system. Eastern Association for the Surgery of Trauma, 12th Annual Meeting,
               Orlando, FL, January 13-16, 1999.

        23.    Kuhn EM, Nie CL, O’Brien ME, Hargarten SW. Firearm-related suicides in Southeastern
               Wisconsin. American Public Health Association, 126th Annual Meeting, Washington, DC,
               November 15-19, 1998.

        24.    Nie CL, Kuhn EM, Hargarten SW. Urban versus rural firearm homicides and suicides in
               youth. American Public Health Association, 126th Annual Meeting, Washington, DC,
               November 15-19, 1998.

        25.    Hargarten SW, Kuhn EM, Nie CL, O’Brien ME, Withers RL, Wintemute GJ. Magazine
               capacity and number of wounds for Milwaukee County Homicides before and after the 1994
               Crime Bill. American Society of Criminology, 50th Annual Meeting, Washington, DC,
               November 11-14, 1998.

        26.    O’Brien ME, Hargarten SW, Nie CL. Linking the Gun with the Death: the Who, When, and
               Where of the Gun’s First Purchase. American Society of Criminology, 50th Annual Meeting,
               Washington, DC, November 11-14, 1998.

        27.    Nie CL, Kuhn EM, O’Brien ME, Hargarten SW. Urban versus rural firearm homicides and
               suicides in youth. American College of Emergency Physicians Research Forum, San Diego,
               California, October 11-12, 1998.

        28.    Nie CL, Kuhn EM, O’brien ME, Withers RL, Hargarten SW. Urban versus rural firearm
               homicides and suicides in youth. 12th Annual California Childhood Injury Control
               Conference, Sacramento, California, September 14-16, 1998.

        29.    Kuhn EM, Nie CL, O’Brien ME, Withers RL, Hargarten SW. Firearm-related suicides in
               Southeastern Wisconsin. Violence Data Exchange Team (VDET), First National
               Conference, Washington, DC, June 24-25, 1998.

        30.    Kuhn EM, Nie CL, O’Brien ME, Hargarten SW. Firearm-related suicides in Southeastern
               Wisconsin. Wisconsin Public Health Association, Waukesha, WI, June 4-5, 1998.

        31.    Wolff M, Hargarten SW, Pirrallo RG: An Analysis of a US-based Project to Strengthen
               Prehospital Emergency Medical Services (EMS) in Poland. Ann Emerg Med 23(4): 925,
               1994.

        32.    Shepherd D, Hargarten SW: Alcohol Screening in the Emergency Department: Blood
               Versus Saliva. Ann Emerg Med 23(2): 612, 1994.
                                                                        VIRAMONTES 003587
                                                                           CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 48 of 60 PageID #:1001
                                                                                                 - 44 -
                                                                       Stephen W. Hargarten, MD, MPH

        33.    Robertson ME, Hodel D, et al: Minimizing hypothermia: Comparison of the effluent
               temperature of blood using three delivery methods and cold and pre-warmed starts. J
               Emerg Nursing 19(5): 468, 1993.

        34.    Orsay EM, Muelleman RL, Peterson TD, et al: Motorcycle helmets and spinal injuries:
               Dispelling the myth. Ann Emerg Med 21(5): 655, 1992.

        35.    Weesner CL, Apprahamian C, Hargarten SW: Fatal childhood injury patterns in an urban
               setting: The case for primary prevention. Ann Emerg Med 21(5): 608, 1992.

        36.    Bergstein JM, Robertson ME, Hedell D, et al.: Rapid resuscitation may contribute to
               hypothermia despite blood warmer use. Ann Emerg Med, 21(5): 597, 1992.

        37.    Hargarten SW, Karlson T, Oldham G: Alcohol and injuries in the ED: Patients, places, and
               problems. Ann Emerg Med 20(4): 477, 1991.




                                                                         VIRAMONTES 003588
                                                                            CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 49 of 60 PageID #:1002




           Expert Report of Stephen Hargarten, MD
           Exhibit 1 – Crime Lab Tests August 2021




                                                        VIRAMONTES 003589
                                                           CCSAO 09/15/2022
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 50 of 60 PageID #:1003
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 51 of 60 PageID #:1004
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 52 of 60 PageID #:1005
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 53 of 60 PageID #:1006
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 54 of 60 PageID #:1007
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 55 of 60 PageID #:1008
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 56 of 60 PageID #:1009
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 57 of 60 PageID #:1010
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 58 of 60 PageID #:1011
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 59 of 60 PageID #:1012
Case: 1:21-cv-04595 Document #: 81-14 Filed: 03/03/23 Page 60 of 60 PageID #:1013
